     Case 10-93904-BHL-11           Doc 1273       Filed 07/28/12     EOD 07/29/12 00:47:08          Pg 1 of 23
                                       United States Bankruptcy Court
                                       Southern District of Indiana
In re:                                                                                    Case No. 10-93904-BHL
Eastern Livestock Co., LLC                                                                Chapter 11
         Debtor
                                         CERTIFICATE OF NOTICE
District/off: 0756-4           User: kgoss2                  Page 1 of 22                   Date Rcvd: Jul 26, 2012
                               Form ID: SF11250              Total Noticed: 1370


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jul 28, 2012.
ptcrd         +B&B Farms,    Attn: Keith Breeding,     8090 Greensburg Road,     Greensburg, KY 42743-9002
cr            +Bill Davis,    7726 W. FM 2335,    Christoval, TX 76935-3308,      UNITED STATES
ptcrd         +Breeding Brothers,    Attn: Wade Breeding,     9440 Columbia Hwy.,     Greensburg, KY 42743-9130
ptcrd         +Brent Keith,    505 Marlo-Campbell Road,     Columbia, KY 42728-5106
cr            +Bynum Ranch Co.,    P. O. Box 104,     Sterling City, TX 76951-0104,     UNITED STATES
op            +David L. Abt,    210 N Main St,    PO Box 128,     Westby, WI 54667-0128
ptcrd         +David L. Rings,    1288 Frontage Road,     Russell Springs, KY 42642-7871
cr            +Davis Quarter Horse,     7726 W. FM 2335,    Christoval, TX 76935-3308,     UNITED STATES
adb           +Eastern Livestock Co., LLC,     135 W. Market Street,     New Albany, IN 47150-3561
cr             Eddie Eicke,    Eicke Ranch II,    1188 County Rd 1202,     Snyder, TX 79549
op            +Elizabeth M. Lynch,    Development Specialists, Inc.,      6375 Riverside Drive,     Suite 200,
                Dublin, OH 43017-5045
cr            +Estate of John S. Gibson, Anna Gayle Gibson, Execu,       13140 Nebo Rd,    Providence, KY 42450-9606
cr             First Bank and Trust Company, The,      c/o Ayres Carr & Sullivan, P.C.,
                251 East Ohio Street, Suite 500,      Indianapolis, IN 46204-2184
cr             Florida Association Livestock Markets,      P.O. Box 421929,     Kissimmee, FL 34742-1929
cr            +Frank Powell,    700 W. Denger,    Midland, TX 79705-5319,      UNITED STATES
cr            +Gabriel Moreno,    c/o Timothy T. Pridmore,     McWhorter, Cobb & Johnson,      1722 Broadway,
                Lubbock, TX 79401-3093
cr            +Gabriel Moreno,    c/o Todd J. Johnston,     McWhorter, Cobb & Johnson,     1722 Broadway,
                Lubbock, TX 79401-3093
cr            +Gene Shipman,    11401 E. Fm 1075,     Happy, TX 79042-3422
cr            +Gibson Farms. LLC,    13140 Nebo Rd.,     Providence, KY 42450-9606
op            +Greenebaum Doll & McDonald PLLC,      3500 National City Tower,     101 South Fifth Street,
                ?Louisville, KY 40202-3157
cr            +Heritage Feeders LP,     c/o Crowe & Dunlevy,     20 North Broadway,    Suite 1800,
                Oklahoma City, ok 73102-9213
ptcrd         +Ike’s Trucking, Inc.,     Ike and Cherie Jacobs,     3087 Ervin Town Rd.,     Castlewood, VA 24224-9686
ptcrd         +Jeremy Coffey,    6205 Greensburg Road,     Columbia, KY 42728-9487
ptcrd          Jimmy Brummett,    7594 Hwy. 555,     Glens Fork, KY 42741
cr            +Johnny Mayo, Jr.,    P. O. Box 317,     Eldorado, TX 76936-0317,     UNITED STATES
cr             Lytle Street Development,     c/o Edward C. Airhart,     440 South Seventh Street,
                Louisville, KY 40203-1967
ptcrd         +Mike Loy,    668 P.D. Pyles Road,     Columbia, KY 42728-9455
ptcrd       #+Moseley Cattle Auction, LLC,      1044 Arlington Avenue,     Blakely, GA 39823-2362
op             National Cattlemen’s Beef Association,      Alice Devine,    Devine & Donley, LLC,
                534 S KS Ave Suite 1420,     Topeka, KA 66603
cr            +Rosenbaum Feeder Cattle Company, LLC,      P.O. Box 141,    Glade Spring, VA 24340-0141
cr            +Russell DeCordova d/b/a deCordova Cattle Company,       c/o Jeffrey J. Graham,
                Taft Stettinius & Hollister LLP,      One Indiana Square, Suite 3500,     Indianapolis, IN 46204-2023
ptcrd         +Southland Haulers, LLC,     Howard & Myra Compton,     P O Box 142,    Bratley, AL 36009-0142
ptcrd         +Superior Livestock Auction, Inc.,      1155 North Colorado Ave.,     Bush, CO 80723-2901
cr            +Todd Rosenbaum,    P.O. Box 141,    Glade Spring, VA 24340-0141
cr            +Tom Svoboda,    3065 AA Avenue,    Herrington, KS 67449-5051,      UNITED STATES
10483524      +2 Z Cattle Co.,    4460 Pulaski Hwy,     Culleoka, TN 38451-2025
10482920      +24 Trading Co., LLC,     PO Box 1530,    Canutillo, TX 79835-1530
10483525      +3 B Farms,    709 N. Pratt,    P.O. Box 6,    Yates Center, KS 66783-0006
10482921      +3 B Farms, LLC,    709 N. Pratt St., PO Box 6,      Yates Center, KS 66783-0006
10483526      +4 Legs Down LLC,    10418 N. 300 E.,     Morristown, IN 46161-9793
10483527      +A & B Cattle & Farm Inc,     PO Box 5,    Thaxton, MS 38871-0005
10483528       A T & T,    PO Box 8100,    Aurora, IL 60507-8100
10483551       A T & T,    PO Box 105262,    Atlanta, GA 30348-5262
10482923      +A T & T,    PO Box 105262,    Br 15 - Lexington,     Atlanta, GA 30348-5262
10482924      +A T & T,    PO Box 105503,    Br 02 - Marion,     Atlanta, GA 30348-5503
10483366      +AMOS KROPF,    6987 HWY 278 WEST,     OZAN, AR 71855-9023
10483368      +ATS FARM,    1454 E MOSLEY LANE,    SPRINGFIELD, MO 65803-7692
10483529      +Acosta Trucking,    PO Box 503,    Alliance, NE 69301-0503
10483530      +Adair Progress, Inc,     98 Grant Lane,    P.O. Box 595,    Columbia, KY 42728-0595
10482925      +Airespring,    PO Box 7420,    Van Nuys, CA 91409-7420
10483532       Airespring/Globalfibernet,     P.O. Box 7420,     Van Nuys, CA 91409-7420
10482926      +Alabama Livestock Auction, Inc.,      PO Box 279,    Uniontown, AL 36786-0279
10482927      +Alfred Keeton Cooper,     1397 Upper Hilham Rd.,     Livingston, TN 38570-8147
10483534      +Allen B. Brown,    248 Brown Rd,    Cave City, KY 42127-9120
10482928       Allen B. Brown,    248 A.B. Brown Rd.,     Cave City, KY 42127
10483535      +Allen Dietrich,    Farmers Bank Of Carnegie,      RR 2 Box 416,    Carnegie, OK 73015-9618
10483536      +Allen Edwards,    1950 Owens Ln,    Corydon, IN 47112-7614
10482929      +Allen Miller,    701 Falling Springs Hollow,      Horse Caves, KY 42749-9710
10483537      +Alton Darnell,    480 Blevins Hollow Rd,     Piney Creek, NC 28663-9020
10482930      +Alvin Barbee,    9730 Brownsville Rd.,     Park City, KY 42160-9316
10483538       American Express,    P.O. Box 650448,     Dallas, TX 75265-0448
10488847       American Express Travel Related Services Co Inc,       Corp Card,    c/o Becket and Lee LLP,
                POB 3001,    Malvern PA 19355-0701
10482931      +American International Services Corp.,      1010 S 9th Street,     Louisville, KY 40203-3326
10482932    #+American Rock,     131 Industrial Park Dr. Suite 3,       c/o Dane Braden,     Hollister, MO 65672-5621
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10483539     #+American Rock LLC,     131 Industrial Park, Suite 3,     Hollister, MO 65672-5621
10482933      +Andrew Beau Tabor,     166 Edgar Ford Rd.,    Summer Shade, KY 42166-9729
10483540      +Andrew Sturdivant,     740 Coles Bend Rd,    Smiths Grove, KY 42171-9226
10483541      +Andy Wilson,    2415 Byrdstown Hwy,     Monroe, TN 38573-6318
10482934      +Angie Honaker,    1186 Leatherwood Rd.,     Tompkinsville, KY 42167-7423
10483542      +Animal Clinic,    Steve Young, DVM,     PO Box 781,    Morganfield, KY 42437-0781
10483543      +Animal Clinic Of Diamond,     20160 Hwy J,    Diamond, MO 64840-7177
10483544      +Animal House Vet Clinic,     Dr. Jon Holloman,     712 W. Main,   Providence, KY 42450-1114
10669071      +Anna Gayle Gibson,     534 Justice Ln,    Providence KY 42450-9725
10483545       Anthony Leath,    3916 Thaxton Rd,     Thaxton, MS 38871-9797
10482935      +Arab Livestock Market Inc.,     PO Box 178,    c/o Robbie Gibbs,    Arab, AL 35016-0178
10483546      +Arab Livestock Market,Inc,     P. O. Box 178,    Arab, AL 35016-0178
10483547      +Arcadia Stockyard,     P.O. Drawer 1418,    Arcadia, FL 34265-1418
10483548      +Arnold Farms,    9845 Weatherly Rd,     Lascassas, TN 37085-4419
10482936      +Arnold Farms,    9845 Weatherly Rd.,     c/o Howard B. Arnold,    Lascassas, TN 37085-4419
10482937      +Arthur Andrew Sturdivant,     740 Coles Bend Rd.,     Smiths Grove, KY 42171-9226
10483549       Arthur Lowhorn,    Rt 2,    Albany, KY 42602
10482938      +Arthur Lowhorn,    3160 Letterhead Oak Road,     Albany, KY 42602-6297
10482939      +Ash Flat Livestock Auction, Inc.,      PO Box 308,    Ash Flat, AR 72513-0308
10482941      +Athens Stockyard, LLC,     c/o Thomas E Ray,    130 Jordan Dr,    Chattanooga, TN 37421-6748
10482942      +Avalon Russell,    2727 Poplar Springs Rd.,     Glasgow, KY 42141-8850
10482943      +Avaya,   14400 Hertz Quail Spring Pkwy,      Oklahoma City, OK 73134-2615
10483553      +Avery Matney,    3673 Iron Mountain Rd,     Center, KY 42214-8735
10483369   ++++B & F CATTLE CO,    300 W LAMAR ST,     RICHLAND TX 76681-4327
              (address filed with court: B & F CATTLE CO,       RT.1 BOX 136,    RICHLAND, TX 76681)
10483554   ++++B & F CATTLE CO,    AG TEXAS FARM CREDIT,     300 W LAMAR ST,    RICHLAND TX 76681-4327
              (address filed with court: B & F Cattle Co,       Ag Texas Farm Credit,     Rt.1 Box 136,
                Richland, TX 76681)
10483555      +B & M Cattle Co.,    P.O. Box 634,     Carthage, MO 64836-0634
10483557      +B & P Trucking,    P.O. Box 236,    Chrisman, TX 77838-0236
10482944      +B&B Farms,    8090 Greensburg Rd.,     c/o Keith Breeding,    Greensburg, KY 42743-9002
10483558      +B&B Land And Livestock,     D.l. Evans Bank, Boise, ID,     P.O. Box 50175,    Billings, MT 59105-0175
10482945      +B&F Cattle (Joe Farmer),     300 W Lamar St,    Richland, TX 76681-4327
10483559      +B-5 Farms,    PO Box 23,    Inverness, MS 38753-0023
10483370      +BACA COUNTY FEED YARD,     45445 HIGHWAY 160,    WALSH, CO 81090-9604
10483497      +BAR K CATTLE,    1275 7TH AVE,    SIOUX CENTER, IA 51250-2156
10483565       BBL Cattle,    Box 39,    Blackwell, TX 79506
10483498      +BEEF MARKETING GROUP COOP,     PO BOX 1506,    GREAT BEND, KS 67530-1506
10453765   ++++BEN ARMSTRONG,    2290 LETTER OAK RD,     ALBANY KY 42602-6288
              (address filed with court: Ben Armstrong,       Rt 2 Box 256,    Albany, KY 42602)
10483372      +BILL JONES,    865 MERIDIAN ROAD,    MITCHELL, IN 47446-6956
10483373      +BILL WARD,    BOX 104,    COOLIDGE, TX 76635-0104
10483374      +BLUEGRASS STOCKYARDS INTERNET,     P.O. BOX 1023,     LEXINGTON, KY 40588-1023
10483375      +BOB LANGE,    P.O. BOX 331,    ORD, NE 68862-0331
10483376       BOBBY LEWIS,    HC 65, BOX 101A,    OVERBROOK, OK 73453
10483377      +BRANDON FUNKHOUSER,     1401 S BROADWAY,    HOBART, OK 73651-1843
10483378       BRENT POLLET,    PO BOX 132,    OAKS, OK 74359-0132
10483379      +BRIAN JOHNSON,    ROUTE 1, BOX 28A,     GOTEBO, OK 73041-9742
10483380      +BRIAN WITT,    P.O. BOX 57,    FALLS CITY, NE 68355-0057
10483499      +BRIGGS FEED YARD,    3044 ALVO ROAD,     SEWARD, NE 68434-7526
10483381      +BROOK PORT CATTLE CO.,     3042 LAKEVIEW DR,    METROPOLIS, IL 62960-3119
10483382      +BUCKHANNON STOCKYARDS, INC.,     P.O. BOX 46,    BUCKHANNON, WV 26201-0046
10483383      +BUD HEINE,    412 STERLING STREET,     VERMILLION, SD 57069-3400
10483384      +BUFFALO LIVESTOCK AUCTION,     44 TW RD. P.O. BOX 427,     BUFFALO, WY 82834-0427
10483625   ++++BURKE LIVESTOCK AUCTION,     420 W 4TH ST,    BURKE SD 57523-2002
              (address filed with court: Burke Livestock Auction,        RR2 Box 33,    Burke, SD 57523)
10482946      +Baca County Feed Yard, Inc.,     45445 Hwy 160,     Walsh, CO 81090-9604
10483560      +Bailey Moore,    c/o Joplin Regional Stockyard,      10131 Cimmaron Road,    Carthage, MO 64836-3461
10483561       Barbara Muir-Kissel,     2990 State Route 62,    Corydon, IN 47112
10482947      +Barnes Trucking,    21936 Lawrence 2222,     c/o Shannon Barnes,    Aurora, MO 65605-8285
10483562      +Barnes Trucking,    Shannon Barnes,     219 36 Lawrence 2222,    Aurora, MO 65605-8285
10482948      +Barren County Sheriff,     117-1B N Public Square,     Glasgow, KY 42141-2869
10483563      +Barry Hale,    P.O. Box 8205,    Longview, TX 75607-8205
10483566      +Beau Tabor,    166 Edgar Ford Rd,    Summer Shade, KY 42166-9729
10483567       Beef Transport,    7892 Tandy Rd,    Lanesville, IN 47136
10483568      +Ben Gibson,    207 Fairway Drive,    Providence, KY 42450-2209
10482949      +Ben H. Armstrong,    2290 Lettered Oak Rd.,     Albany, KY 42602-6288
10482950      +Bennie Mutter,    527 Mutter Rd,    Glasgow, KY 42141-8446
10483569      +Benton Farms,    306 4th Street,    Benton, AL 36785-5423
10483570      +Bertolino Livestock And Transportation,      P.O. Box 21425,    Billings, MT 59104-1425
10483571      +Bertram Cattle Hauling,     P.O. Box 437,    Vinita, OK 74301-0437
10482951      +Beth Royalty,    8350 Heinze Road NE,     Lanesville, IN 47136-8502
10483576     #+Bill Chase,    P O Box 2038,    1157 Harry King Rd.,     Glasgow, KY 42141-8051
10667193       Bill Davis,    726 W. FM 2335,    Christoval, Texas 76935
10483579      +Bill Ward,    American Bank,    Box 104,    Coolidge, TX 76635-0104
10482952       Bill Warren,    108 Qualls Lane,    Livingston, TN 38570
10482953      +Billie W. Hurt,    29 Barren River Dam Rd,     Scottsville, KY 42164-9255
10483581      +Billingsley Auction Sale, Inc.,     P.O. Box 505,     Senatobia, MS 38668-0505
10483582      +Billy Hurt,    29 Barren River Dam Rd,     Scottsville, KY 42164-9255
10483583      +Billy Milby,    3210 J.E. Jones Rd,     Magnolia, KY 42757-8108
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10482954     +Billy Neat,    705 B Neat Road,    Columbia, KY 42728-8500
10482955     +Billy Wayne Price,    1391 Summersville Rd.,     Greensburg, KY 42743-8949
10483585     +Blue Grass South Livestock Market, LLC,      P.O. Box 438,    Stanford, KY 40484-0438
10482956     +Blue Grass South Livestock Market, LLC,      PO Box 438,    277 Cordier Lane,
               Stanford, KY 40484-7551
10483586     +Blue Grass Stockyards Co., Inc.,     P.O. Box 1023,    Lexington, KY 40588-1023
10482957     +Blue Grass Stockyards of Richmond, LLC,      348 K Street,    Richmond, KY 40475-1722
10483587     +Bluegrass Maysville Stockyard, LLC,      7124 AA Highway East,    Maysville, KY 41056-8448
10482958     +Bluegrass Maysville Stockyard, LLC,      7124 AA Hwy East,    Maysville, KY 41056-8448
10482959     +Bluegrass Stockyards East, LLC,     PO Box 765,    Mt. Sterling, KY 40353-0765
10483588     +Bluegrass Stockyards Internet,     c/o Bluegrass Stockyards,     P.O. Box 1023,
               Lexington, KY 40588-1023
10483589     +Bluegrass Stockyards Of Richmond, LLC,      340 K Street,    Richmond, KY 40475-1722
10482960     +Bluegrass Stockyards of Campbellsville,,      PO Box 509,    Campbellsville, KY 42719-0509
10667744     +Bluegrass Stockyards, LLC,     Attn: Jim Akers, COO,      P. O. Box 1023,   Lexington, KY 40588-1023
10482961     +Bluegrass Stockyards, LLC,     PO Box 1623,    Lexington, KY 40588-1623
10483590     +Bob Everett,    Box 1887,    Woodward, OK 73802-1887
10483591      Bob Sawyers,    Rt 4,   Albany, KY 42602
10482962     +Bob Sawyers,    616 Willis Creek Rd.,     Albany, KY 42602-8214
10483592     +Bob Stinnett,    300 Charlie Hickey Rd,     Sparta, TN 38583-2728
10483599     +Bob’s Auto Supply,    P.O. Box 419,     Edmonton, KY 42129-0419
10483593     +Bobby Farmer,    P.O. Box 77,    Warrensville, NC 28693-0067
10482963     +Bobby Groce,    1567 Oil City Rd.,    Glasgow, KY 42141-1181
10482964     +Bobby L. Stinnett,    62 Tatesville Rd.,     Palmer, TN 37365-2502
10483594      Bobby Lewis,    Citizens Bank Of Clovis,     Hc 65, Box 101A,    Overbrook, OK 73453
10483595     +Bobby Martin,    3160 N Jackson Hwy,     Canmer, KY 42722-9437
10483596     +Bobby Newman,    P.O. Box 1002,    Bixby, OK 74008-1002
10483597      Bobby Smith,    1105 Grady Road,    Munfordville, KY 42765-9264
10483600     +Bomhak Trucking,    5704 North Shephard,     El Reno, OK 73036-9027
10483601     +Bovine Medical Assoc.,LLC,     Dawn Bush,    1500 Soper Road,    Carlisle, KY 40311-8083
10482965     +Bovine Medical Associates,     1500 Soper Rd.,    Carlisle, KY 40311-8083
10483602     +Boyd Copas,    2195 E Phillipi Church Rd,     Tompkinsville, KY 42167-9478
10482966     +Boyd Copas,    2195 E. Phillippi Church Rd.,     Tompkinsville, kY 42167-9478
10483603     +Bpt Livestock,    Bryan Pruitt,    100 Old Carpenter Lane,     Harrison, AR 72601-6465
10482967     +Brack Briscoe,    2069 South Meridian Rd,     Mitchell, IN 47446-5994
10483606     +Brad Daughtey,    2154 E County Rd 200 N,     Paoli, IN 47454-9048
10482968     +Brad Flood,    910 W. Main St.,    Cloverport, KY 40111-1423
10483607    #+Brad Hagan,    9305 Hwy 54,    Whitesville, KY 42378-9503
10482969     +Bradbury & York Cattle,     PO Box 588,    Tatum, TX 75691-0588
10462137     +Bradley Rummel,    8860 W. Farm Road 112,     Willard, MO 65781-9377
10483609     +Brandon Zeisler,    30155 354th,    Saint Charles, SD 57571-5207
10482970     +Brantley Security Services,     2929 S Floyd Street,     Louisville, KY 40209-1823
10483610     +Breeding Bros,    9440 Columbia Hwy,     Greensburg, KY 42743-9130
10482971     +Brenda Gayle Hunt,    1419 Akersville Rd.,     Fountain Run, KY 42133-7913
10483611     +Brenda Hunt,    1419 Akersville Rd,     Fountain Run, KY 42133-7913
10483612     +Brent Keith,    505 Marlowe Campbell Rd,     Columbia, KY 42728-5106
10483616    #+Brian Lovell,    8394 Tandy Ln,    Lanesville, IN 47136-8722
10483617     +Brian Robertson,    3523 Edmonton Rd,     Columbia, KY 42728-9414
10482972     +Brian Scott,    4163 Aetna Grove Church Rd.,     Summersville, KY 42782-9099
10483618      Brian Scott,    4220 Aetna Grove Church Rd,     Summersville, KY 42782
10483619     +Brilyn Garrett,    4567 Randolph Goodluck Rd,     Summer Shade, KY 42166-9004
10483620     +Broughton Cattle, Inc.,     577 Lanarkshire Place,    Lexington, KY 40509-2294
10483621      Brown Trucking,    Richard Brown,    2725 N. CR 383,     Wetumka, OK 74883
10482973     +Brown Trucking,    2725 N. 383,    Wetumke, OK 74883-6244
10482974     +Brystice Amanger Wright,     198 Dry Fork Rd.,    Brush Creek, TN 38547-2053
10483622     +Brystice Wright,    198 Dry Fork Rd,     Brush Creek, TN 38547-2053
10483623     +Buddy Head,    1830 Safari Camp Road,     Lebanon, TN 37090-1024
10483624      Buetow Lemastus & Dick, PLLC,     Attn: Terry L. Stapp,     1510 Cit. Plaza, 500 W. Jeff.,
               Louisville, KY 40202
10423405     +Buetow, LeMastus & Dick PLLC,     Terry L Stapp,    1510 PNC Plaza,    Louisville, KY 40202-2855
10482975     +Buffalo Livestock Auction, LLC,     Box 427,    Buffalo, WY 82834-0427
10483626     +Burkmann Feeds,    319 North Main,    Edmonton, KY 42129-9303
10482977     +Butch Gibson,    2431 Breeding Rd.,     Edmonton, KY 42129-8920
10667192     +Bynum Ranch Company c/o Tommy Bynum,      P. O. Box 104,    Sterling City, Texas 76951-0104
10483627     +Byron Lang Inc.,    P.O. Box 301,    Jackson, MO 63755-0301
10483628     +C & C Farms,    293 Chapman Rd,    Tompkinsville, KY 42167-9427
10483629     +C & H Cattle,    P O Box 7,    Fountain Run, KY 42133-0007
10483385     +C & M CATTLE,    PO BOX 627,    BOISE CITY, OK 73933-0627
10483630     +C & M Cattle,    P.O. Box 67,    Boise City, OK 73933-0067
10483631     +C L F Feeders,    2123 West Mill Street,     Buffalo, MO 65622-6335
10483632     +C V Farm,    70 Roberts Rd,    Watertown, TN 37184-4422
10483633     +C W Haines,    1925 Loren Collins Rd,     Glens Fork, KY 42741-7820
10482978     +C&C Farms,    293 Chapman Rd.,    c/o Teddy & Toby Chapman,     Tompkinsville, KY 42167-9427
10483644     +C-H Cattle Co,    Chipper Hicks,    1357 Highway 6 E,     Oxford, MS 38655-9280
10483634     +C.B. Gilbert,    3 G Cattle Co.,    4374 Bloomfield Road,     Taylorsville, KY 40071-9060
10483635      C4 Cattle/Scott Dean,     1388 Erin Drive,    Chester, SC 29706
10483500      CACTUS FEEDERS, INC.,     P.O BOX 3050,    AMARILLO, TX 79116-3050
10483501     +CATTLCO,    P.O. BOX 488,    FT MORGAN,CO 80701-0488
10483386     +CATTLE COUNTRY VIDEO,     P.O. BOX 399,    TORRINGTON, WY 82240-0399
10483502     +CIRCLE 3 FEEDYARD,    BOX 830,    HEREFORD, TX 79045-0830
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10483387   ++++CLAY J. CARTER,    3970 E 2010 RD,    WAURIKA OK 73573-5213
              (address filed with court: CLAY J. CARTER,       RT. 2 BOX 215,    WAURIKA, OK 73573)
10483503      +COTTONWOOD FEEDERS,    P.O. BOX 249,     STUART, NE 68780-0249
10483688      +CPC Feed Store,    721 W Main St,    Glasgow, KY 42141-1717
10483003      +CPC Livestock,    13196 Holland Road,     Fountain Run, KY 42133-9415
10483689      +CPC Livestock,    Farm Credit Services,     13196 Holland Road,    Fountain Run, KY 42133-9415
10483004      +CPD,   9016 Taylorville Rd,     Box 216,    Louisville, KY 40299-1750
10483504      +CRAIG CATTLE LLC,    255 CO RD 21,    CRAIG, NE 68019-5059
10483388      +CROSSED J CATTLE,    PO BOX 729,    BARTLESVILLE, OK 74005-0729
10483505       CURT JONES,    4820 220TH AVE,    SIOUX RAPIDS, IA 50585
10483008      +CV Farms,    70 Roberts Rd.,    c/o Paul George,    Watertown, TN 37184-4422
10482979      +Cactus Feedyard (Big Cabin, OK),     2209 West 7th Street,     Amarillo, TX 79106-6769
10482980       Cactus Feedyard (Happy, TX),     2210 West 7th Street,     Amarillo, TX 79117
10482981      +Cactus Feedyard (Strington, OK),     2211 West 7th Street,     Amarillo, TX 79106
10669876      +Cactus Growers, Inc.,    c/o John H. Lovell,     Lovell, Lovell, Newsom & Isern, LLP,
                112 W. 8th Ave., Suite 1000,     Amarillo, Texas 79101-2343
10483636       Cambridge Transportation,     36392 Treasury Center,     Chicago, IL 60694-6300
10509695       Capitol Indemnity Corporation,     P.O. Box 5900,    Madison, WI 53705-0900
10482982      +Carl Jeffries,    471 Hubbard Harris Rd.,     Edmonton, KY 42129-6437
10482983      +Carol T. Walden,    1341 Kino Rd.,    Glasgow, KY 42141-9442
10483638      +Carol Walden,    1341 Kino Rd,    Glasgow, KY 42141-9442
10482984      +Carolyn Bledsoe,    1131 Weed Sparksville Rd.,     Columbia, KY 42728-8155
10482985      +Carolyn Thompson,    1300 Ritchie Lane,     Bardstown, KY 40004-9534
10483639      +Carroll Co L/S Sale Barn, Inc.,     PO Box 279,    Carrollton, GA 30112-0005
10483640      +Carusco Trucking LLC,    PO Box 671,     Richfield, UT 84701-0671
10361078      +Cattlco, LLC,    c/o Nolan M. Johnson, Esq.,     BASS, BERRY & SIMS PLC,
                100 Peabody Place, Suite 900,     Memphis, TN 38103-3653
10482986      +Cattleman’s Livestock,    PO Box 26,     Lakeland, FL 33802-0026
10483641      +Cattleman’s Livestock Auction,     P.O. Box 26,    Lakeland, FL 33802-0026
10667081      +Cattlemen’s Livestock Auction Market, Inc.,      3305 U.S. Highway 92 E.,
                Lakeland, Florida 33801-9623
10666561      +Cattlemen’s Livestock Auction Market, Inc.,      3305 US Highway 92 E,    Lakeland, FL 33801-9623
10483642       Center Point Animal Hospital,     2360 Hwy 26 West,     Nashville, AR 71852
10483645      +Chad Baker,    11755 North Tobacco Landing,     Laconia, IN 47135-9049
10482987      +Chad Daniel Withrow,    2100 Bishop Rd,     Glasgow, KY 42141-9610
10483646     #+Chad Houck,    409 County Rd 6,    Black, AL 36314-5307
10483647      +Chad Schuchmann,    1912 Winged Foot Drive,     Nixa, MO 65714-9466
10483648      +Chad Whithrow,    2100 Bishop Rd,    Glasgow, KY 42141-9610
10482988      +Champ Colley,    2002 Law 2120,    Sarcoxie, MO 64862-8226
10483649      +Chandler Burton,    4088 Blackburn Hollow Rd,     Pulaski, TN 38478-5858
10483651      +Charles Douglas Copher,    1280 Peastick Road,     Owingsville, KY 40360-8848
10483652      +Charles Graham,    PO Box 775,    Gatesville, TX 76528-0775
10482989      +Charles Graham Farms,    PO Box 775,     Gatesville, TX 76528-0775
10456544      +Charles Leon Isenberg,    4942 Edmonton Rd,     Tompkinsville, KY 42167-9411
10482990      +Charles M. Rush,    5335 Tompkinsville Rd.,     Summer Shade, KY 42166-9724
10483653      +Charles Rush,    5335 Tompkinsville Rd,     Summer Shade, KY 42166-9724
10482991      +Charles W. Haines Jr,    1925 Loren Collins Rd,     Glen Fork, Ky 42741-7820
10483654       Charles Watkins,    108 Lecta Coral Hill Rd,     Glasgow, KY 42141
10483655       Charlie Brown,    4931 Old Burkesville Rd,     Albany, KY 42602
10482992       Charlie Dee Brown,    4931 Old Burkesville Rd.,     Albany, KY 42602
10483656      +Charlie Fisher,    448 Lambert Rd,    Scottsville, KY 42164-6203
10483657      +Charlie Robinson,    C&R Cattle Co,    191 Carson Street,     Pontotoc, MS 38863-3520
10482993      +Charlie T. Fisher,    448 Lambert Rd.,     Scottsville, KY 42164-6203
10483658      +Chase Stapleton,    200 Silver Maple Court,     Versailles, KY 40383-9774
10483659      +Chastain Feeds,    3363 State Hwy D,     Crane, MO 65633-8046
10483660      +Chester Bay,    31166 Hwy 50 East,    La Junta, CO 81050-9283
10482994      +Chip Miller Trucking,    PO Box 126,     c/o Chip Lee Miller,    St. George, KY 66535-0126
10482995      +Chris Barton,    1172 Bridge Hollow Rd.,     Scottsville, KY 42164-9244
10483662      +Chris Blankenship,    23594 Lawrence 1200,     Aurora, MO 65605-8256
10483663      +Chris Greathouse,    1801 Greathous Road,     New Harmony, IN 47631-9630
10483664      +Chris Martin,    251 Pond Road,    Canmer, KY 42722-9446
10483665      +Christie Family Enterprises In,     5161 Eagle Feather Rd,     Delta, CO 81416-8402
10433429      +Christine Family Enterprises, Inc.,      Lincoln and Amber Crhistie,    5161 Eagle Feather Rd.,
                Delta, CO 81416-8402
10483666      +Chuck Robinson,    5255 Veterans Hwy W,     Pontotoc, MS 38863-5065
10483667      +Citt Cumberland,    City Of Edmonton,     P.O. Box 374,    Edmonton, KY 42129-0374
10482996      +City of Edmonton,    PO Box 374,    Edmonton, KY 42129-0374
10482997      +Clarence B. Gilbert,    4374 Bloomfield Rd.,     Taylorsville, KY 40071-9060
10483668      +Clark Christensen,    PO Box 442,    Okolona, MS 38860-0442
10482998       Claude Jones,    6 Claude Jones Rd.,     Edmonton, KY 42129
10483669      +Clem Nelson,    490A South Road I,    Johnson, KS 67855-8811
10483670       Clerk Of The Supreme Court,     Court Of Appeals & Tax Court,     200 W. Washington St., Rm 216,
                Indianapolis, IN 46204-2795
10483671       Cline Wood Agency, Inc.,     P.O. Box 415035,    Kansas City, MO 64141-5035
10482999      +Clinton Alton Darnell,    480 Blevins Hollow Rd.,     Piney Creek, NC 28663-9020
10483672      +Cloonen Trucking Co.,    5881 West Rt. 115,     Kankakee, IL 60901-7196
10483000      +Coffeyville Livestock Market LLC,     PO Box 1074,    Coffeyville, KS 67337-2074
10552611      +Coffeyville Livestock Market, LLC,     c/o William E. Smith, III,     Kightlinger & Gray, LLP,
                Bonterra Building, Suite 200,     3620 Blackiston Blvd.,     New Albany, IN 47150-8538
10483675      +Coffeyville Livestock Mkt, LLC,     P.O. Box 1074,    Coffeyville, KS 67337-2074
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10483676      +Cole Brothers Trucking,     PO Box 209,    Connerville, OK 74836-0209
10483677      +Colley Farms,    2002 Lawrence 2120,     Sarcoxie, MO 64862-8226
10483678      +Colton Downey,    c/o Bobby Downey,     P O Box 88,    Columbia, KY 42728-0088
10483001       Columbia Gas Company,     PO Box 742523,    Cincinnati, OH 45274-2523
10483679      +Columbia Gas Company Of Kentucky,      200 Civic Center Dr., 11th Floor,     Columbus, OH 43215-4138
10483680      +Columbia Livestock Market,     P.O. Box 354,     Lake City, FL 32056-0354
10483681      +Commonwealth Of Kentucky,     Revenue Cabinet,     P.O. Box 491,    Frankfort, KY 40602-0491
10483682      +Companion Life Insurance Co.,      7909 Parklane Road,    Suite 200,    Columbia, SC 29223-5666
10483683       Cook Trucking Inc,    Bryan,     RRT Box225-C,    Stroud, OK 74075
10483684      +Cooper Christenson,     P.O. Box 442,    Okolona, MS 38860-0442
10483002      +Corcoran Trucking, Inc.,     221 Lomond Lane,     Billings, MT 59101-7350
10483686      +Corcoran Trucking, Inc.,     P.O. Box 1472,     Billings, MT 59103-1472
10483690      +Craig Burns Trucking,     PO Box 1265,    Fostville, IA 52162-1265
10483691       Criswell, Inc.,    Marvin Criswell Lvstk & Truckg,      2310 45 Bypass,    Trenton, TN 38382
10483692      +Crooked Oak Services,     Quintin Crowley,     19515 Crooked Oaks Grove,    St. Onge, SD 57779-7901
10483006      +Crumpler Brothers,    4925 Friberg Church Rd.,      Wichita Falls, TX 76305-7335
10483693      +Crumpler Brothers,    4925 Frieberg Church Rd,      Wichita Falls, TX 76305-7335
10483694      +Crystal’s Livestock Express,      Dave Crystal,    692 E 600 Ave,    Pittsburg, KS 66762-8517
10483695      +Culleoka Stockyards,     4460 Pulaski Highway,     Culleoka, TN 38451-2025
10706719      +Cullman Stockyard, Inc.,     c/o Thomas C. Scherer, Esq.,      Bingham McHale LLP,   2700 Market Tower,
                10 West Market Street,     Indianapolis, IN 46204-2982
10483007      +Cullman Stockyard, Inc.,     75 County Rd. 1339,     Cullman, AL 35058-0428
10483697      +Custom Feed Mill, Inc.,     630 N Hughes St,     Morganfield, KY 42437-1116
10483009      +D & B Cattle Company,     100 Bonita St.,    c/o Bill Moler,     Elk City, OK 73644-3716
10483698      +D & B Cattle Company,     Bill Moler,    100 Bonita St.,    Elk City, OK 73644-3716
10483506      +D B FEEDYARD,    2370 COUNTY RD. D,     TEKAMAH, NE 68061-5043
10483699      +D&R Farms,    P.O. Box 1005,     Terry, MS 39170-1005
10483700      +D&R Trucking, Inc,    P.O. Box 267,     Anthon, IA 51004-0267
10483010       D.S. Johnson Farms,     1420 Mill Creek Rd.,     Tompkinsville, KY 42167
10483701   ++++DALE PAGE,    9253 EDMONTON RD,     SUMMER SHADE KY 42166-8669
              (address filed with court: Dale Page,       9525 Edmonton Rd,     Summer Shade, KY 42166)
10483389   ++++DALLAS MCPHAIL,    15888 N 2235 RD,     MOUNTAIN PARK OK 73559-5025
              (address filed with court: DALLAS MCPHAIL,        RT 1, BOX 106,    MT. PARK, OK 73559)
10483390       DARREN BAKER,    RT. 1 BOX 20B,     MT. PARK, OK 73559
10483391      +DAVE WINGO,    4231 NORTH 371 RD,     HOLDENVILLE, OK 74848-9449
10483392      +DAVID HILBERT,    ROUTE 3, BOX 280,     WALTERS, OK 73572-9577
10483393      +DON STALLBAUMER,    1832 UTAH ROAD,     FRANKFORT, KS 66427-8622
10483507   ++++DOUG SHEPPARD,    45649 STATE HIGHWAY 12,      MILLS NE 68753-9749
              (address filed with court: DOUG SHEPPARD,        HC 80 BOX 30,    MILLES, NE 68753)
10483508      +DOUGLAS D. SUNDERMAN,     83386 556TH AVE,     NORFOLK, NE 68701-1554
10483753   ++++DR. BUD WILLIS,    2480 LAWTON AVE,     SULPHUR OK 73086-6842
              (address filed with court: Dr. Bud Willis,        Rt. 2 Box 59,    Sulphur, OK 73086)
10445917       DUKE ENERGY,    EF-367,    P.O. BOX 960,    CINCINNATI, OHIO 45273-9598
10483702      +Dale Stull Trucking,     Box 41,    Nara Visa, NM 88430-0041
10483703     #+Dalton Bragg,    869 Society Hill Rd,     Edmonton, KY 42129-7813
10483011     #+Dalton W Bragg,    869 Society Hill Rd,     Edmonton, KY 42129-7813
10483704      +Dan Byrd,    P.O. Box 2057,    Okeechobee, FL 34973-2057
10483705       Dan Werne,    12031 East County Rd 200N,     Ferdinand, IN 47532-7650
10483707      +Daniel Harmon,    4295 N Burgess Circle Road,      Depauw, IN 47115-8838
10666754      +Daniel Martin Byrd,     c/o Oak Lake Cattle Co.,     1055 U.S. Highway 98 North,
                Okeechobee, Florida 34972-8766
10483708      +Danny Billingsley,    197 Barbour Cemetery Rd,      Glasgow, KY 42141-8851
10483012      +Danny Clifton Billingsley,     197 Barbour Cemetary Rd.,      Glasgow, KY 42141-8851
10483709       Danny Miller,    1690 Safari Camp Road,     Lebanon, TN 37090
10483013      +Dante Zago,    8201 Couchville Pk.,     Mt. Juliet, TN 37122-7611
10483710       Dante Zago & Farm Credit,     3461 Underwood Road,     Mount Juliet, TN 37122-4724
10483712      +Darby Montgomery,    36 Thompson Road,     Lancaster, KY 40444-8138
10483714      +Darrell Blackman,    3200 Schaffer Lane,     Elizabeth, IN 47117-7812
10483014      +Darrell Lynn Wood,    845 Captain Redford Rd.,      Cave City, KY 42127-9301
10483715      +Darrell Walker,    Dl Walker,     498 Lakeview Road,    New Tazewell, TN 37825-2613
10483716      +Darrell Wood,    845 Cap Redford Rd,     Cave City, KY 42127-9301
10483015      +Data Copy Inc,    3508 Hillcreek Road,     Louisville, KY 40220-2711
10483016      +Dave Dufour,    405 S Sherrin Ave,     Louisville, KY 40207-3817
10483717     #+Dave Lewis Trucking LLC,     4133 Lane 67,     Fowler, CO 81039-9635
10411904      +David Bowles dba Amos Development LLC,      1401 Pigeon fork Rd,     Lawrenceburg, KY 40342-9488
10483722      +David Cassady,    1497 Pleasant Valley Ch,      Horse Cave, KY 42749-8608
10483017      +David E. Read,    583 Love Knob Rd.,     Glasgow, KY 42141-9521
10483018      +David Gordon,    1758 Old Temple Hill Rd.,      Tompkinsville, KY 42167-8545
10483019       David Holley,    377 Blue Springs Rd.,     Knob Lick, KY 42154
10483021      +David Lynn Cassady,     1497 Pleasant Valley Church Rd.,      Horse Cave, KY 42749-8608
10428402      +David Marrs Gordon,     1758 Old Temple Hill Road,     Tompkinsville, KY 42167-8545
10483022      +David Michael Burgess,     360 Cherokee Rd.,     Lucas, KY 42156-9353
10483723      +David Read,    583 Love Knob Road,     Glasgow, KY 42141-9521
10467583      +David Rings,    1288 Frontage Road,     Russell Springs KY 42642-7871
10667194      +Davis Quarter Horse c/o Bill Davis,      7726 W. FM 2335,     Christoval, Texas 76935-3308
10483726      +De Cordova Cattle Co.,     P.O. Box 517,    Groesbeck, TX 76642-0517
10483728      +Deborah Carnathan,    3380 Hwy 8 East,     Houston, MS 38851-7757
10667675       Deere & Company,    Robert Allen, c/o John Deere Credit,       23176 Network Place,
                Chicago, IL 60673-1231
10483023      +Delphia Ann Garrett,     4567 Randolph-Good Luck Rd.,     Summer Shade, KY 42166-9004
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10483729      +Delphia Garrett,    4567 Randolph Goodluck Rd,     Summer Shade, KY 42166-9004
10483730      +Dennis Neat,    6198 Burkesville Rd,     Columbia, KY 42728-8529
10483024       Dennis Ray Neat,    6098 Burkesville Rd.,     Columbia, KY 42728
10483731      +Dennis Schroeder,    1st National Bank Of Elk City,      29304 CR 110,    Freedom, OK 73842-3855
10483732     #+Denver Capps,    P O Box 975,    Burkesville, KY 42717-0975
10483025      +Denwalt & Son Cattle Co.,     10004 Reno W.,    El Reno, OK 73036-9728
10483733      +Denwalt & Sons Cattle Co. LLC,     10004 Reno W,     El Reno, OK 73036-9728
10483026      +Development Specialists, Inc.,     Suite 2300,    70 W. Madison,    Chicago, IL 60602-4225
10483734      +Diamond 3,    546 Debra Ct.,    Versailles, KY 40383-1070
10483027      +Dick Wallace,    8045 FM 182,    Gatesville, TX 76528-3433
10483736      +Dick Wallace,    National Bank Of Gatesville,     8045 Fm Rd 182,    Gatesville, TX 76528-3433
10483735      +Dick and Jim Carr,    James Carr,    2404 Lexington Rd,     Richmond, KY 40475-9136
10483737      +Dickson Livestock Center, Inc,     P.O. Box 591,     Dickson, TN 37056-0591
10483028      +Dickson Livestock Center, Inc.,     PO Box 591,    c/o Terry Lemons,     Dickson, TN 37056-0591
10483738      +Diedrichsen Cattle Company,     52271 Baker Rd,    Neligh, NE 68756-5080
10483029      +Dinsmore & Shohl,    255 East Fifth Street, Suite 1900,      Cincinnati, OH 45202-1971
10483030      +DirecTV,    PO Box 60036,    Los Angeles, CA 90060-0036
10483031      +Dish Network,    PO Box 105169,    Atlanta, GA 30348-5169
10483740      +Div. Of Child Support Enforce.,     P.O. Box 14059,     Lexington, KY 40512-4059
10483741      +Dogi LLC,    135 West Market St.,    New Albany, IN 47150-3561
10483742       Dollar General Store,     109 US Highway 41A N,    Providence, KY 42450-2126
10483032      +Dollar K Cattle,    PO Box 125,    Elmore City, OK 73433-0125
10483743      +Dollar K Feedyard,    29239 N CR 3150, PO Box 125,      Elmore City, OK 73433-0125
10483744      +Don Green,    9973 County Rd. 87,    Roanoke, AL 36274-6951
10483745      +Donald Alexander,    615 Saint John Rd,     Lascassas, TN 37085-5161
10483033      +Donald Hawks,    8829 Finney Rd.,    Glasgow, KY 42141-7311
10483034      +Donald R. Alexander,     16550 Cainsville Rd.,    Lancassas, TN 37085-5129
10483035      +Donald R. Sympson,    151 Murrays Run Rd.,     Bardstown, KY 40004-9761
10483036      +Donald Richard Lyle,     8627 New Glasgow Rd.,    Scottsville, KY 42164-6571
10483037      +Donna Good,    247 Delmont Ave,    Louisville, KY 40206-1074
10483038      +Donnie Coomer,    150 Coomer Rd.,    Edmonton, KY 42129-9016
10483747      +Donnie Sympson,    151 Murray Run Rd,     Bardstown, KY 40004-9761
10483748      +Donrinda Ann Morrison,     Dorris Jean Depp,    PO Box 43163,    Louisville, KY 40253-0163
10483039       Dorinda Morrison,    8035 Fairplay Rd.,     Columbia, KY 42728
10483040      +Doris Jean Depp,    PO Box 43163,    Louisville, KY 40253-0163
10483041       Dothan Livestock Co,     9711 Hwy 231 South,    Dothan, AL 36301
10483749      +Dothan Livestock Co.,     P.O. Drawer 6596,    Dothan, AL 36302-6596
10483750      +Double D Land And Livestock,     PO Box 929,    Shelbyville, TN 37162-0929
10483751      +Double M Transportation LLC,     River Valley Express,     643 Deon St,    Burley, ID 83318-3318
10483042      +Doug Browning,    3730 Edmonton Rd.,     Glasgow, KY 42141-9511
10483752       Doug Smith,    1654 Henson Rd,    Moss, TN 38575
10483754      +Dr. James M. Boyer,    P.O. Box 551,     Houston, MS 38851-0551
10483755      +Dragonfly Trucking LLC,     609 Pass Creek Rd,    Parkman, WY 82838-9605
10483756      +Drover’s Livestock Hauling,     3040 Gigal Rd,    Turner Station, KY 40075-6233
10483044      +Dwayne Smith,    4238 Garfield Hinds Rd.,     Monroe, TN 38573-4216
10483394      +EBEN BAILEY RANCH,    504 HOWARD ST,     BONESTEEL, SD 57317-2108
10483767   ++++EDDIE STRICKLAND,    BANK FIRST,    11626 MS HIGHWAY 389,     PHEBA MS 39755-5501
              (address filed with court: Eddie Strickland,       Bank First,    3408 Hwy 389,    Pheba, MS 39755)
10483052   ++++EDWIN A. STRICKLAND,     11626 MS HIGHWAY 389,    PHEBA MS 39755-5501
              (address filed with court: Edwin A. Strickland,        3408 Hwy 389,    Phela, MS 39755)
10361254      +ELI J. PATTEN,    CROWLEY FLECK PLLP,     P.O. BOX 2529,    BILLINGS, MT 59103-2529,
                epatten@crowleyfleck.com
10483783   ++++EXCHANGE,    PO BOX 490,    408 MAIN AVE S,    FAYETTEVILLE TN 37334-3446
              (address filed with court: Exchange,       PO Box 490,    404 South Main Ave.,
                Fayetteville, TN 37334)
10483757      +Eagle Bay, Inc,    P.O. Box 1284,    Okeechobee, FL 34973-1284
10483758      +Earl Veterinary Supply, Inc,     P.O. Box 70,    Fayette, MO 65248-0070
10483759       East Miss. Farmers Livestock,     12190 Pecan Avenue,     Philadelphia, MS 39350-5232
10483045      +East Mississippi Farmers Livestock Co,      12190 Pecan Ave.,    Philadelphia, MS 39350-5232
10483760      +East Tennessee Livestock Cent.,     P.O. Box 326,     Sweetwater, TN 37874-0326
10662496      +East Tennessee Livestock Center, Inc.,      Attn: jennifer Houston, Treasurer,      P.O. Box 326,
                Sweetwater, TN 37874-0326
10483761      +Eastern Cattle Co., LLC,     135 West Market Street,     New Albany, IN 47150-3561
10483763      +Ecco 1 LLC & Cattle Consultants, LLC,      14111 Co. Rd. 2,    Wiggins, CO 80654-8703
10483046      +Ecomputer Services, Inc.,     6201 Broadway Ave,     Evansville, IN 47712-3841
10483764     #+Ed Arterburn,    P O Box 186,    Park City, KY 42160-0186
10483765      +Ed Edens Farm,    P.O. Box 55,    Okolona, MS 38860-0055
10483766      +Ed Edens IV,    4724 Hwy 32,    P.O. Box 570,    Okolona, MS 38860-0570
10483047      +Ed Vander Brink,    319 Main St.,    Alvord, IA 51230-7706
10483048      +Eddie Claywell,    Harlan E Judd III,     PO Box 27,    Bowling Green, KY 42102-0027
10483049      +Eddie Eicke,    11888 CR 1202,    Snyder, TX 79549-8912
10483768      +Edens/Matt Eller,    P.O. Box 570,    Okolona, MS 38860-0570
10483050      +Edmonton Water, Sewer & Gas,     PO Box 880,    Edmonton, KY 42129-0880
10483774      +Edmonton Water, Sewer & Gas Systems,      P.O. Box 880,    Edmonton, KY 42129-0880
10483051      +Edward L. Arterburn,     775 Old Dixie Hwy,    Park City, KY 42160
10667191      +Eicke Ranch II,    11888 Co. Rd 1202,     Snyder, Texas 79549-8912
10483776      +Eischeid Trucking LLC,     32390 454th Street,    Motley, MN 56466-4541
10483053      +Eischeid Trucking, LLC,     32390 454th,    c/o Joseph Leonard Eischeid,     Motley, MN 56466-4541
10483054      +Elizabeth Lynch,    c/o Development Specialists, Inc.,      70 W. Madison, Suite 2300,
                Chicago, IL 60602-4250
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10483055      +Elmer C. Rigdon,    1320 Horton Rigdon Rd.,      Glasgow, KY 42141-9003
10483777      +Elmer Rigdon,    1320 Horton Rigdon Rd,      Glasgow, KY 42141-9003
10483778       Emberton & High,    Sulphur Lick Rd.,     Tompkinsville, KY 42167
10483056      +Ephriam Wilson,    5614 County House Rd,      Tompkinsville, KY 42167-8407
10483779      +Eric Paul Brown,    707 Cleveland Ave,     Glasgow, KY 42141-1911
10483057      +Erik Paul Brown,    707 Cleveland Ave.,      Glasgow, KY 42141-1911
10483780      +Ernie Elder,    P.O. Box 153,     Byrdstown, TN 38549-0153
10483781      +Eugene Barber & Sons, Inc,     1228 Lisle Road,     P.O. Box 1327,    Lexington, KY 40588-1327
10483782      +Eugene Pedigo,    8313 Randolph Summer Shade Rd,      Summer Shade, KY 42166-7622
10483784      +F&M Farms,    PO Box 14,    Bullard, TX 75757-0014
10483396     #+FAITH CATTLE CO.,    409 CR 6,,     BLACK, AL 36314-5307
10483059     ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,      1850 EAST PARIS SE,
                GRAND RAPIDS MI 49546-6253
              (address filed with court: Fifth Third Bank,        38 Fountain Square Plaza,    MD 10AT63,
                Cincinnati, OH 45263)
10483509      +FIVE RIVERS CATTLE FEEDING,     1770 PROMONTORY CIRCLE,      GREELEY, CO 80634-9039
10483063      +FNJ, LLC,    PO Box 596,    Wisner, NE 68791-0596
10483397      +FOREST GOOMAN,    679 HWY 245,     DADEVILLE, MO 65635-8142
10667545       FPC Financial, f.s.b,     Robert Allen, c/o John Deere Credit,      23176 Network Place,
                Chicago, IL 60673-1231
10483786      +Farm Data Services,    Clay Burtrum,     1770 West Lakeview Road,     Stillwater, OK 74075-2746
10483787      +Farmers Feed Mill, Inc,     251 West Loudon Ave,     Lexington, KY 40508-1290
10483788      +Farmers Livestock Auction,     P.O. Box 91,     14747 Old Hwy 40,    Boonville, MO 65233-2629
10483789      +Farmers Livestock Market-AAL,      Hwy 16 East,    P.O. Box 87,    Carthage, MS 39051-0087
10483058      +Farmers Livestock Marketing,      PO Box 87,    Carthage, MS 39051-0087
10483790       Federal Express Corporation,      P.O. Box 94515,    Palatine, IL 60094-4515
10483791      +Ferrell Moore,    691 S. Farm Road 35,     Bois D Arc, MO 65612-8213
10436742      +Fia Card Services, NA As Successor In Interest to,       Bank of America NA and Mbna America Bank,
                1000 Samoset Drive,     DE5-023-03-03,    Newark, DE 19713-6000
10448547      +Fifth Third Bank,    c/o Randall D. LaTour, Esq.,      52 East Gay Street,    Columbus, OH 43215-3108
10483793      +Fischer Bros,    29549-431st Ave,     Lesterville, SD 57040-5001
10483060      +Fischer Bros. Trucking, LLC,      29549 431st Ave.,    Lesterville, SD 57040-5001
10483794      +Five Rivers Cattle Feeding,     Yuma Feedlot,     38002 County Road North,    Yuma, CO 80759-7929
10483795      +Five Star Livestock LLC,     10319 Highway 62,     Charlestown, IN 47111-8937
10483061      +Floyd County Treasurer,     PO Box 2010,     New Albany, IN 47151-2010
10483062      +Floyd Haywood Marr,    4532 Sandhill Rd.,      Louisville, KY 40219-3869
10483797       Flying M Ranch,    1016 CR 416 North,     Lake Panasoffke, FL 33538-6128
10483798      +Forbis Farm,    230 Walnut Hill Rd,     Summer Shade, KY 42166-7700
10483064      +Forbis Farms,    230 Walnut Hills Rd.,     Summer Shade, KY 42166-7700
10483799      +Forever Communications,     1919 Scottsville Rd,     Bowling Green, KY 42104-3303
10483800      +Fort & Worth Co,    Efren Saavedra Dba,      P.O. Box 67050,    Alburquerque, NM 87193-7050
10483065      +Fort Payne Stockyard, Inc.,     PO Box 681126,     Fort Payne, AL 35968-1612
10483801       Fort Payne Stockyards,     P.O. Box 681126,     Fort Payne, AL 35968-1612
10483802      +Foster Feed & Farm,    c/o Kenneth Don Foster,      P.O. Box 7,    Bakersfield, MO 65609-0007
10483066      +Four Way Cattle Co.,     Box 130,    c/o Tom Estes,    Adrian, TX 79001-0130
10483803      +Four Way Cattle Co.,     c/o Tom Estas,    P.O. Box 130,     Adrian, TX 79001-0130
10483804      +Fousek Farm & Trucking, LLC,      28474 391st Avenue,    Armour, SD 57313-6715
10483067      +Fousek Farms & Trucking, LLC,      28381 US Hwy 281,    Armour, SD 57313-5913
10483805      +Frank Gibson,    P.O. Box 392,     Edmonton, KY 42129-0392
10667197      +Frank Powell,    700 W. Denger,     Midland, Texas 79705-5319
10483806      +Fred Birdwell,    1543 Tommy Dotson Hwy,      Cookeville, TN 38506-8242
10483807      +Fred Dickson,    1636 Prices Creek Rd,     Edmonton, KY 42129-8825
10483808      +Fred Garnett,    2222 John Rives Rd,     Hopkinsville, KY 42240-9349
10483068      +Fred L. Dickson,    1636 Prices Creek Rd.,      Edmonton, KY 42129-8825
10483809      +Fred Thomas,    1150 Christie Sano Rd,     Columbia, KY 42728-8340
10483810       Fred Young,    1017 J A Young Rd,     Edmonton, KY 42129
10483069      +Frederick David Thomas,     1150 Christin Sano Rd.,     Columbia, KY 42728-8340
10483070      +Fredin Brothers,    Highway 14E Box 37,      Springfield, Mn 56087-0037
10659775      +Fredin Brothers, Inc.,     P.O. Box 37,    Springfield, MN 56087-0037
10483811      +Friona Industries, L.P.,     500 S Taylor,     P.O. Box 15568,    Amarillo, TX 79105-5568
10483813      +Ft. Scott Livestock Market Inc.,      P.O. Box 270,    Fort Scott, KS 66701-0270
10483814      +G & C Trucking,    P.O. Box 24,     Munday, TX 76371-0024
10483815      +G & G Trucking Inc,    P.O. Box 335,     Ecru, MS 38841-0335
10483816      +G & H Cattle,    5826 Hwy 223 N,     Viola, AR 72583-9668
10483817      +G Deal,    135 West Market,    New Albany, IN 47150-3561
10483818      +G P Cattle Company,    7827 Tandy Rd.,     Lanesville, IN 47136-9645
10483819      +G W Transport,    P.O. Box 2125,     Deming, NM 88031-2125
10483820      +G&W/L.L.T. Trucking, Inc,     2501 Exchange Ave Rm138,     Oklahoma City, OK 73108-2459
10483821      +G7 Ranch Inc,    1137 N. Lake Shore Blvd,      Lakewales, FL 33853-3912
10483398   ++++GARY CARTER,    3970 E 2010 RD,     WAURIKA OK 73573-5213
              (address filed with court: GARY CARTER,        ROUTE 2, BOX 215,    WAURIKA, OK 73573)
10483824   ++++GARY CARTER,    FIRST FARMERS NATIONAL BANK,      3970 E 2010 RD,    WAURIKA OK 73573-5213
              (address filed with court: Gary Carter,        First Farmers National Bank,    Route 2, Box 215,
                Waurika, OK 73573)
10483511      +GARY KRANTZ,    1500 SHARPSTONE DRIVE,     MITCHELL, SD 57301-5097
10483400      +GARY RIGGS,    3292 FM 55,    BLOONING GROVE, TX 76626-3257
10483401      +GARY SEALS,    P.O. BOX 935,    DUNLAP, TN 37327-0935
10483403      +GENE ALLOWAY,    101 E MAIN ST,     LYONS, KS 67554-2002
10483404       GERALD GOODMAN,    615 STATE HIGHWAY 245,      DADEVILLE, MO 65635-8142
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10661314     +GP Cattle, LLC,    c/o Michael W. McClain, Esq.,     Ballinger McClain, PLLC,
               9720 Park Plaza Avenue,     Suite 102,    Louisville, KY 40241-2289
10483405     +GREG EBNER,    P.O. BOX 4404,    WICHITA FALLS, TX 76308-0404
10483072     +Gabriel Moreno Medina,    c/o The Law Offices of Stephen H. Nickey,      1201 N Mesa Ste B,
               El Paso TX 79902-4000
10483725      Garrett Farms,    Steven A. Garrett,     P.O. Box 31541,    Amarillo, TX 79120-1541
10483073     +Garrett Farms,    31 W Plantation Rd,     Steve A. Garrett,    Amarillo, TX 79118-9460
10483075     +Gary Franklin Whitley,    794 Lawrence Rd.,     Smiths Grove, KY 42171-9223
10483826     +Gary Pickett,    2721 Coral Hill Halfway Rd,     Glasgow, KY 42141-9563
10612973     +Gary S. Bell,    PO Box 122,    Edmonton, KY 42129-0122
10483076     +Gary Tate,    6510 West Lake Rd.,    Abilene, TX 79601-8206
10483827     +Gary Thompson,    P.O. Box 113,    Pitkin, La 70656-0113
10483077     +Gary W. Campbell,    3191 Caudill Rd.,     Franklin, KY 42134-8415
10483078     +Gary Welch Cattle Company,     PO Box 10,    Norman, NC 28367-0010
10483828      Gary Whitley,    GE Transportation Finance,     P.O. Box 822108,    Philadelphia, PA 19182-2108
10483079     +Gene Shipman Cattle Co.,     11401 E. FM 1075,    Happy, TX 79042-3422
10633550     +General Electric Capital Corporation,      300 John Carpenter Fwy Suite 207,
               Irving, Texas 75062-2369
10483080     +George E. Logsdon,    11045 Hardyville Rd.,     Hardyville, KY 42746-8639
10483830     +George Hora Trucking,    1894 N. Dubuque Rd,     Iowa City, IA 52245-9596
10483081     +George Hora Trucking, LLC,     1894 N. Dubuque Rd.,    c/o George E. Hora,
               Iowa City, IA 52245-9596
10483831     +George Logsdon,    11045 Hardyville Rd,     Hardyville, KY 42746-8639
10483833     +George Washer,    261 Gibbons Rd,    Cave City, KY 42127-9487
10483834    #+Gerald Peterman,    627 Old Celina Road,     Allons, TN 38541-6907
10669164     +Gibson Farms LLC,    c/o Anna Gayle Gibson,     534 Justice Ln,    Providence KY 42450-9725
10648752     +Glen Franklin,    PO Box 703,    House NM 88121-0703
10483082     +Glen Hurt,    7950 Old Glasgow Rd.,     Scottsville, KY 42164-9549
10483083     +Glen R. Franklin,    PO Box 703,    House, NM 88121-0703
10483836     +Glenn Franklin,    PCA Of Eastern New Mexico,     Box 703,    House, NM 88121-0703
10483084     +Glenwild Stockyard, Inc.,     3383 Hwy 51 S.,    Grenada, MS 38901-9375
10483839     +Glenwild Stockyards,    3383 Hwy 51 S,     Grenada, MS 38901-9375
10483840     +Gowan Stockyard Inc,    P O Box 336,     Kosciusko, MS 39090-0336
10483841      Grain Processing Corp.,     P.O. Box 92670,    Chicago, IL 60675-2670
10483842     +Grant Gibson,    7827 Tandy Road,    Lanesville, IN 47136-9645
10661220     +Grant Gibson,    c/o Michael W. McClain, Esq.,     Ballinger McClain, PLLC,    9720 Park Plaza Avenue,
               Suite 102,    Louisville, KY 40241-2289
10483085      Great America Leasing Corp.,     PO Box 75266-0831,    Dallas, TX 75266
10483843     +Green Leaf Farms,    268 Hurt Rd,    Coldwater, MS 38618-7638
10483844     +Green Valley LLC,    P.O. Box 65,    Salvisa, KY 40372-0065
10483845     +Greensburg Record Herald,     PO Box 130,    Greensburg, KY 42743-0130
10483846     +Greg Johson,    2750 Pleasant Valley Ch Rd,     Center, KY 42214-8202
10483847     +Greg Waycaster,    450 CR 373,    Tupelo, MS 38801-9188
10483848     +Greg White,    571 Mt Moriah Rd,    Summer Shade, KY 42166-9074
10483086     +Gregory Lynn Johnson,    2750 Pleasant Valley Church Rd.,      Center, KY 42214-8202
10483849     +Gungoll, Jackson, & Collins,     Bradley Gungoll,    P. O. Box 1549,    Enid, OK 73702-1549
10483850     +H & B Trucking, L. L. C.,     Kendall Bayless,    Route 1, Box 15,    Arnett, OK 73832-9701
10483406     +HENRY & CLAYTON KNOX,    30231 LEE RD,     SEDALIA, MO 65301-1738
10483407     +HENRY SIMS,    291 SIMS RD,    FAUNSDALE, AL 36738-3831
10483512     +HERITAGE FEEDERS,    123 ROBERT S. KERR AVE, PO BOX 2410,      OKLAHOMA CITY, OK 73101-2410
10483408     +HOWARD WILLIAMSON,    1951 FM 2384 NORTH,     ELECTRA, TX 76360-6547
10483851     +Haigh Livestock,LLC,    P.O. Box 447,     Merrill, OR 97633-0447
10483852     +Halee Bunch,    2821 Columbia Rd,    Burkesville, KY 42717-9126
10483087     +Halee Bunch,    2821 Columbia Rd.,    Burkesvile, KY 42717-9126
10453764     +Halee Bunch,    Harlan E Judd III,    McCracken & Judd PLLC,     PO Box 27,
               Bowling Green, KY 42102-0027
10483088     +Hardee Livestock Market, Inc.,     PO Box 1479,    Wauchula, FL 33873-1479
10483853     +Hardin County Stockyard,     P.O. Box 189,    Waynesboro, TN 38485-0189
10483090     +Harold Whitaker Livestock Transportation,      PO Box 1179,    Roswell, NM 88202-1179
10483855     +Haywood Marr,    4532 Sand Hill Rd,     Louisville, KY 40219-3869
10483856     +Heath & Turpin, Inc.,    P.O. Box 1078,     Lamar, CO 81052-1078
10624217     +Heritage Feeders, LP,    c/o Judy Hamilton Morse and John M. Thom,      Crowe & Dunlevy,P.C.,
               20 North Broadway, Ste. 1800,     Oklahoma City,OK 73102-9213
10483859     +Herrboldt Trucking,    29449 432nd Ave,     Lesterville, SD 57040-5006
10483860     +High & High,    1150 Sulphur Lick Rd,     Tompkinsville, KY 42167-7048
10483091     +Hilliard-McKettrick Investments, Inc.,      d/b/a Arcadia Stockyard,    PO Box 1418,
               Arcadia, FL 34265-1418
10659451      Hirsch Partnership,    c/o Lynn D. Hirsch and Steven K. Hirsch,      502 Locust Lane,
               Shelbyville KY 40065-9700
10483861     +Hodge Livestock Network,     P.O. Box 627,    Newport, TN 37822-0627
10483862     +Holladay Farm,    760 Beachnut Drive,     Pontotoc, MS 38863-7298
10483092     +Homer Copeland,    295 Copeland Ln.,     Celina, TN 38551-3017
10483864     +Horizon Beef, Inc.,    216 Main, Box 525,     Sanborn, IA 51248-7728
10483865     +Hoy P Hodges Collection,     Trust Acct,    319 E 10th Ave,    Bowling Green, KY 42101-6803
10483866      Humana Insurance Co,    P.O. Box 533,     Carol Stream, IL 60132-0533
10483870     +IMI Global Inc.,    Suite A,    221 Wilcox St,    Castle Rock, CO 80104-4006
10483867     +Iii M Transportation, LLC.,     PO Box 31,    Okolona, MS 38860-0031
10483868     +Ike Boutwell,    1815 Cann School Ln,     Eastview, KY 42732-9715
10483869     +Ike’s Trucking Inc.,    Ike Jacobs,     P.O. Box 81,   St. Paul, VA 24283-0081
10426340     +Ike’s Trucking Inc.,    P O Box 81,     St. Paul, VA 24283-0081
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10483093      +Ike’s Trucking, Inc.,     PO Box 81,    c/o Charlie Isaac Jacobs,    St. Paul, VA 24283-0081
10483871       Indiana Beef Council,     P.O. Box 2857,    Indianapolis, IN 462062857
10483094       Indiana-American Water Co.,     PO Box 94551,    Palatine, IL 60094-4551
10483095      +Industrial Disposal Co.,     1423 S Jackson Street,     Louisville, KY 40208-2777
10483875      +Ingland Trucking,    Jim Ingland,     11932 Road 6,    Liberal, KS 67901-6142
10483096      +Insight Communications,     PO Box 740273,    Cincinnati, OH 45274-0273
10483877      +Intrade Consultants, Inc.,     US Customs Brokers,     7101 Chino Dr.,    El Paso, TX 79915-1223
10642670      +Intrust Bank, NA,    c/o Jeffrey E. Ramsey, Esq.,      Hopper Blackwell, P.C.,
                111 Monument Circle, Suite 452,      Indianapolis, IN 46204-5101
10661105       Irsik & Doll Feed Services, Inc.,      P.O. Box 847,    Cimarron, KS 67835-0847
10483097      +Issac M. Boutwell,     1815 Camn School LN,    Eastview, KY 42732-9715
10483878      +J & B Farms,    446 Magnolia Hill, PO Box 199,      Duncan, MS 38740-0199
10669717      +J & L Farms, LLC,    c/o Thompson Hine LLP,     Attention John Kopf,
                41 South High Street, 17th Floor,      Columbus, Ohio 43215-6157
10483879      +J & S Livestock,    P.O. Box 398,     Armuchee, GA 30105-0398
10483880      +J C Bar Trucking,Inc.,     210 Windy Lane,    Gatesville, TX 76528-3370
10483881      +J R Brown,    107 Karakal Dr,    Glasgow, KY 42141-3354
10669461      +J&F Oklahoma Holdings, Inc.,     c/o David LeBas, Attorney,     Naman Howell Smith & Lee, PLLC,
                8310 Capital of Texas Hwy., North, Suite,      Austin, Texas 78731-1081
10483882      +J&J Livestock,    P.O. Box 202,    Darrouzette, TX 79024-0202
10483098      +J&J Livestock Trucking,     PO Box 202,    Darrouzett, TX 79024-0202
10483099      +J.C. Bar Trucking, Inc.,     210 Windy Lane,    c/o Charles Graham,     Gatesville, TX 76528-3370
10483883      +J.C. Powell,    Box 1389,    Lindale, TX 75771-1389
10483100      +J.C. Willis,    7449 Greensburg Rd.,     Greensburg, KY 42743-9005
10483884      +J.D.Nabors,    P.O. Box 323,    Houston, MS 38851-0323
10483411      +JAMES H. HALE,    3575 SUMMERWOOD,     OLIVE BRANCH, MS 38654-7925
10483412      +JASON GIBSON,    114 WALNUT ST,    BYRDSTOWN, TN 38549-2240
10483413      +JAY MCLEMORE,    7567 E 129 RD,    HOLDENVILLE, OK 74848-1678
10483115      +JC Billingsley,    2621 Kino Rd.,     Glasgow, KY 42141-9448
10483116      +JD Cattle Company, Inc.,     1196 Twin Forks Lane,     St. Paul, NE 68873-3444
10483117   ++++JEFF A. MOWERS,    1200 BLACKS FERRY RD,     BURKESVILLE KY 42717-7614
              (address filed with court: Jeff A. Mowers,       1200 Blacks Ferry Rd.,     Burkesville, KY 42717)
10483900   ++++JEFF MOWERS,    1200 BLACKS FERRY RD,     BURKESVILLE KY 42717-7614
              (address filed with court: Jeff Mowers,       1200 Blacks Ferry Rd,     Burkesville, KY 42717)
10483903   ++++JEFF YOUNG,    1299 WILLOW GROVE SCHOOL RD,     ALLONS TN 38541-6021
              (address filed with court: Jeff Young,       1299 Willow Grove School Rd,     Allons, TN 38541)
10483514      +JF CATTLE,    1710 SOUTH 2450 EAST,     MALTA, ID 83342-8608
10483415      +JIM FRITZ,    90837 479TH AVE,    BUTTE, NE 68722-3505
10483416      +JIMMY HARRYMAN,    208 FROST CREEK,     GROESBECK, TX 76642-4905
10483418       JOHN ROSS,    107 SOUTH HIGH STREET,     WAURIKA, OK 73573
10483419      +JOHNNY FARRIS,    PO BOX 97,    ADDINGTON, OK 73520-0097
10483420       JONATHON ESPARZA,    504 N. JOYNER,     WILLOW, OK 73673
10483421      +JOPLIN STOCKYARDS VIDEO,     P.O. BOX 634,    CARTHAGE, MO 64836-0634
10483950      +JR Byars,    419 Byars Crossing,     Winfield, AL 35594-4105
10483422       JUNIOR HICKS,    RT.1,    MT.PARK, OK 73559
10483423      +JUSTIN POLIFKA,    2099 CO RD 70,     QUINTER, KS 67752-6061
10483515      +JVCO,LLC,    11347 BUSINESS PARK CIRCLE,     FIRESTONE, CO 80504-5270
10483885      +Jack Roth Trucking,     22147 Y Hwy,    Boonville, MO 65233-3644
10483101      +Jack Roth Trucking,     22147 Y Hwy.,    Booneville, MO 65233-3644
10483886      +Jack Schlessiger,    1266 N E 120 Road,     Claflin, KS 67525-9186
10483102      +Jack Stevens,    1121 Chapel Hill Rd.,     Morganfield, KY 42437-6339
10483103      +Jackie Estel Young,     312 Beauty Swamp Rd.,    Monroe, TN 38573-5112
10483887      +Jackie Young,    796 Big Springs Rd,     Monroe, TN 38573-6315
10483104      +Jackie Young,    1336 Claude Jones Road,     Edmonton, KY 42129-9521
10483888       Jackie Young,    1337 Claude Jones Rd,     Edmonton, KY 42129
10483889      +Jacob Massey,    2713 Tollgate Rd,     Petersburg, TN 37144-2302
10483890      +James & Roman Elmore,     1215 Hudgins Hwy,    Summersville, KY 42782-9019
10669629      +James A. Knauer, Trustee,     111 Monument Circle, Suite 900,     Indianapolis, IN 46204-5106
10483105      +James G. Sympson,    608 Murray’s Run Rd.,     Bardstown, KY 40004-6725
10483106      +James H. Brass,    PO Box 777,    Coldwater, KS 67029-0777
10483107      +James H. Gibson,    1990 Columbia Rd.,     Edmonton, KY 42129-8902
10483108      +James Lee Elmore,    1215 Hudgins Hwy,     Summersville, KY 42782-9019
10483892      +James Nolley,    1106 CR56,    Myrtle, MS 38650
10483109      +James R.Thompson,    1300 Ritchie Ln.,     Bardstown, KY 40004-9534
10483110      +James Robert Flickinger,     417 Flickinger Ln.,     Glasgow, KY 42141-8833
10483895      +Jane, LLC,    21767 E. 1580 Rd.,     Mt. Park, OK 73559-5040
10483111      +Janousek Farms, Inc.,     36982 US Hwy 18,    Fairfax, SD 57335-5352
10483112      +Jared Ross Smith,    989 West Black Dot Rd.,     Knob Lick, KY 42154-9601
10483897      +Jared Smith,    989 West Black Dot Rd,     Knob Lick, KY 42154-9601
10483898      +Jason Farmer Transportation,     Jason Farmer,    192 County Road 427,     Lorena, TX 76655-4382
10483113      +Jason Haley,    265 Haley Rd.,    Watertown, TN 37184-3205
10483899      +Jay Buford,    108 Glen Oaks Ct,     McDonough, GA 30253-4840
10483114      +Jay Burford,    108 Glen Oaks Rd,     McDonough, GA 30253-4840
10462219      +Jay Burford,    108 Glenoaks Court,     McDonough, GA 30253-4840
10483902      +Jeff Reece,    195 Locust Grove Church Road,     Knob Lick, KY 42154-6310
10483901      +Jeff or Josh Pitcock,     679 Pitcock Rd,    Summer Shade, KY 42166-7616
10417341      +Jeffery L. Young,    518 Willow Grove School Road,      Allons, TN 38541-3007
10483118      +Jeffery Lynn Young,     518 Willow Grove School Rd.,     Allons, TN 38541-3007
10483119      +Jerel Smith,    819 Black Dot Rd.,     Knob Lick, KY 42154-9601
10483120      +Jerry Bagby,    5360 Hwy. 1464,    Greensburg, KY 42743-9432
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10483121     +Jerry Herald,    1191 Oakhill School Rd.,     Smiths Grove, KY 42171-9024
10483905     +Jerry Jordan,    6046 Simmons Bluff Rd,     Lebanon, TN 37090-0733
10483122     +Jerry Middletom,    1108 W. Ridge,     McAlester, OK 74501-2239
10483906     +Jerry Middleton,    1108 West Ridge,     McAlester, OK 74501-2239
10657446     +Jerry N. Bagby,    5360 Hwy. 1464,     Greensburg, KY 42743-9432
10483907     +Jerry Ollerich,    Ollerich Trucking,     46884 267 Street,     Sioux Falls, SD 57106-7000
10483123     +Jerry Wayne Jordan,    6046 Simmons Bluff Rd.,      Lebanon, TN 37090-0733
10483908     +Jerry Wolfe,    105 West Shore,    Richardson, TX 75080-4917
10483910     +Jesse Horseman,    1080 Gwinn Island,     Danville, KY 40422-8612
10483124     +Jesse Phillip Whitlow,    5180 Randolph-Goodluck Rd,      Summer Shade, KY 42166-9083
10483125     +Jesse R. Brown,    107 Karakal Dr.,     Glasgow, KY 42141-3354
10483126     +Jesse W. Simpson,    415 Jesse Simpson Rd.,      Tompkinsville, KY 42167-7358
10483911     +Jessie Simpson,    415 Jessy Simpson Road,     Tompkinsville, KY 42167-7358
10483912     +Jessie Whitlow,    5180 Randolph Goodluck Rd,      Summer Shade, KY 42166-9083
10483913     +Jim Brass,    110 N New York St,    Coldwater, KS 67029-2959
10483914     +Jim F. Bonham,D.V.M.,    1735 S Hwy 183,     Clinton, OK 73601-9533
10483915     +Jim Flickinger,    417 Flickinger Lane,     Glasgow, KY 42141-8833
10483916     +Jim Minor,    2105 View Street,    Shelbyville, KY 40065-8961
10483917     +Jim Mitten Trucking, Inc.,     3660 US 40,    Oakley, KS 67748-6002
10483127     +Jimmie Dale High,    1150 Sulphur Lick Rd,     Tompkinsville, KY 42167-7048
10483128      Jimmie Rogers, Inc.,    5042 Hwy 54,     Liberal, KS 67901
10483918     +Jimmy Brummett,    7594 Hwy 55 South Road,     Columbia, KY 42728-7235
10483919     +Jimmy Collums,    130 CR 409,    Houlka, MS 38850-8617
10483129     +Jimmy Finchum,    4220 Royal Oak Dr,     New Albany, IN 47150-9788
10483130     +Jimmy Harmon,    4028 Greensburg Rd.,     Columbia, KY 42728-9449
10483131     +Jimmy Hendrick,    PO Box 127,    Smiths Grove, KY 42171-0127
10483920     +Jimmy Hendricks,    P.O. Box 127,    Smiths Grove, KY 42171-0127
10483921      Jimmy High,    Sulphur Lick Rd,    Tompkinsville, KY 42167
10483132     +Jimmy Manion,    107 Indie Circle,     Glasgow, KY 42141-3433
10483922     +Jimmy McMillen,    1096 CR 88,    New Albany, MS 38652-7310
10483923      Jimmy Rogers, Inc.,    5042 Hwy 54,     Liberal, KS 67901
10483924     +Jimmy Stapp,    1609 Cedar Grove Rd,     Greensburg, KY 42743-9014
10483925     +Jimmy Sympson,    608 Murray Run Rd,     Bardstown, KY 40004-6725
10483926     +Jimmy Thompson,    1300 Ritchie Lane,     Bardstown, KY 40004-9534
10483927     +Jimmy Wayne Kinder,    1st State Bank Of Temple,      Rt 1 Box 25,    Walters, OK 73572-9717
10483928     +Jobe Publishing Inc,    PO Box 546,     Cave City, KY 42127-0546
10483929     +Joe Bishop,    1198 Country Road 188,     Blue Springs, MS 38828-9339
10483933     +Joe Kanthak Trucking,    48640 161st St,     Revillo, SD 57259-6616
10483934     +Joey Newton,    275 Manton Road,    Laretto, KY 40037-8136
10483935     +John & Levi Sexton,    6813 Old Glasgow Rd,      Scottsville, KY 42164-9544
10483936     +John Cowherd,    Attorney At Law,PC,     P.O. Box 268,    Mount Vernon, MO 65712-0268
10452731     +John D. Thompson,    P.O. Box 224,     Edmonton, KY 42129-0224
10483937      John Deer Credit,    P.O. Box 4450,     Carol Stream, IL 60197-4450
10483938     +John Doyle Trucking,    43787 202nd Street,      Erwin, SD 57233-5317
10483939     +John Eschbacher,    11220 Otterbein Rd.,     Laconia, IN 47135-8932
10483133     +John L. Page,    PO Box 250,    Tompkinsville, KY 42167-0250
10483941     +John M Page,    P O Box 250,    Tompkinsville, KY 42167-0250
10483134     +John Neagle,    2043 Hayes Pondsville Rd.,     Smiths Grove, KY 42171-6242
10483135    #+John Thomas Sexton,    3711 Knob Lick-Wisdom Rd.,      Knob Lick, KY 42154-6305
10483942     +John Thompson,    2284 Tompkinsville Rd,     Edmonton, KY 42129-7057
10483943     +John Toole,    9550 Barbee Rd,    Hernando, MS 38632-7986
10483944     +John Wood,    P.O. Box 937,    Dalhart, TX 79022-0937
10483945     +Johnny Bell,    108 N Green St,    Glasgow, KY 42141-2806
10483136     +Johnny Bell,    108 North Green Street,     Glasgow, KY 42141-2806
10667195     +Johnny Mayo, Jr.,    P. O. Box 317,     Eldorado, Texas 76936-0317
10483946     +Jon Washer,    1308 Alaska Ave.,    Fort Campbell, KY 42223-3513
10483947     +Joplin Regional Stockyards,     Regular Sale,     P.O. Box 634,    Carthage, MO 64836-0634
10483137     +Joplin Regional Stockyards , Inc.,      d/b/a B&M Cattle Co.,     PO Box 634,
               Carthage, MO 64836-0634
10483138     +Joplin Regional Stockyards, Inc.,      PO Box 634,    Carthage, MO 64836-0634
10483948     +Joplin Stockyards Video,     Video Sale,    P.O. Box 634,    Carthage, MO 64836-0634
10483139     +Joshua Brian Loftis,    460 Stockton Lane,     Gainesboro, TN 38562-6101
10483140     +Joshua Pitcock,    33 Moore Rd,    Summer Shade, KY 42166-8457
10483141     +Joyce Barnes,    1715 Karen Circle,     Bowling Green, KY 42104-3345
10483142     +Judy Cebelak,    614 Lane Allen Rd,     Lexington, KY 40504-3507
10483143     +Julie Platt,    PO Box 164,    New Castle, UT 84756-0164
10483952      Junior Hicks,    Bank of the Wichitas,     Rt.1,    Mt. Park, OK 73559
10483144     +Junior Martin,    1233 Hollow Rd,    Glasgow, KY 42141-9487
10483953     +Just-a-Burg’s,    305 N Main St,    Marion, KY 42064-1314
10483954     +Justin Garrett,    2578 E SR 252,    Franklin, IN 46131-7565
10483956      K D Farm Services LLC.,     Ken Davis,    P.O. Box 330,    Grandview, TX 76050-0330
10483145     +KD Farm Service, LLC,    PO Box 330,     c/o Ken Davis,    Grandview, TX 76050-0330
10483424     +KEITH VARNER,    621 N. 17TH,    FREDERICK, OK 73542-3813
10483426     +KENNETH BURTON,    RT. 1 BOX 83,    DEVOL, OK 73531-9750
10483427     +KENNETH COOK,    P.O. BOX 10,    VEGA, TX 79092-0010
10483428     +KENNY OGDEN,    1050 W DADE 72,    LOCKWOOD, MO 65682-7353
10483429      KENT DONICA,    6862 HWY 199,    ARDMORE, OK 73401
10483976      KJS Investments,    455 County Road 50,     Guin, AL 35563
10483161      KU,   PO Box 539013,    Atlanta, GA 30353-9013
10483981     +KU,   1 Quality Street,     Lexington, KY 40507-1461
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10483957      Kansas City Life Insurance Co,     P.O. Box 219846,     Kansas City, MO 64121-9846
10668327     +Kathryn L. Pry, Chapter 7 Trustee of the Bankruptc,       c/o Meredith R. Thomas,    Dale & Eke, P.C.,
               9100 Keystone Crossing, Suite 400,      Indianapolis, IN 46240-2100
10483958     +Keeton Cooper,    1397 Upper Hilham Rd,     Livingston, TN 38570-8147
10483146     +Keith Kilmon,    8095 Edmonton Rd,     Summer Shade, KY 42166-8638
10483147     +Kelly Jeffries,    471 Hubbard Harris Rd.,     Edmonton, KY 42129-6437
10483959     +Kendall Branstetter,     6310 S Jackson Hwy,    Horse Cave, KY 42749-7014
10483148     +Kenergy Corp,    6402 Old Corydon Rd,     Henderson, KY 42420-9392
10483149     +Kenneth Bryant,    6565 Russell Springs Rd.,     Columbia, KY 42728-8304
10483150     +Kenneth Cowles,    1690 Chalybeate School Rd.,     Bowling Green, KY 42101-8356
10483151     +Kenneth Froedge,    207 Tuney Geralds Rd.,     Edmonton, KY 42129-7073
10483960     +Kenneth Pritchard,     805 Short Cut Road,    Horse Cave, KY 42749-1819
10483152     +Kenneth Sanders,    2487 Win School Rd.,     Glasgow, KY 42141-8448
10483961     +Kenneth Sanders,    2487 Winn School Rd,     Glasgow, KY 42141-8448
10483962     +Kenneth Williams,    677 County Road 373,     Shannon, MS 38868-9247
10483963     +Kenny Nolley,    1082 County Road 56,     Myrtle, MS 38650-9534
10483154     +Kenny Plowman,    Centurylink,    PO Box 1319,    Charlotte, NC 28201-1319
10483964     +Kenny Plowman,    1010 Tattle Branch Rd.,     Chilhowie, VA 24319-5470
10483965      Kent Donica,    6862 St Hwy 199,    Ardmore, OK 73401
10483966     +Kentuckiana Animal Clinic,     1500 East 18th Street,     Owensboro, KY 42303-1000
10483967     +Kentuckiana Livestock Market,     P O Box 774,    Owensboro, KY 42302-0774
10483158      Kentucky American Water,     PO Box 371880,    Pittsburgh, PA 15250-7880
10483969     +Kentucky Proud,    100 Fair Oaks,     Frankfort, KY 40601-1108
10483970     +Kerry Gilley,    511 Wisdom Rd,    Edmonton, KY 42129-9022
10483972     +Kevin Marsh,    1770 Old Lexington Rd,     Cave City, KY 42127-9104
10483973      Kevin Seatz,    Little Dry Run Rd,     Butler, TN 37640
10483974     +Keywood Animal Clinic, LLC,     P.O. Box 2195,    21492 Vances Mill Rd.,     Abingdon, VA 24212-2195
10483975     +Kilgore Truck,    Satha Kilgore,    4425 Gray Drive,     Macomb, MO 65702-9124
10483977     +Kness Trucking Inc.,     P.O. Box 463,    Chadwick, IL 61014-0463
10483159     +Kness Trucking, Inc.,     PO Box 463,    c/o Judith Kness,    Chadwick, IL 61014-0463
10483160     +Knoxville Livestock Auction Center,      8706 Mascot Road,    Knoxville, TN 37924-1409
10483978     +Knoxville Lvst. Center, Inc.,     P.O. Box 167,    Mascot, TN 37806-0167
10483979     +Korth Feeding,    86678 560 Ave,    Randolph, NE 68771-7137
10483980     +Kropf Farms,    17718 B Road,    Delta, CO 81416-8503
10483982     +L H Gibson,    8310 Subtle Rd,    Edmonton, KY 42129-9115
10483983     +L S Supply, Inc.,    1202 West Stockton St.,     Edmonton, KY 42129-8123
10483162     +L&F Cattle,    8365 W. FM 217,    c/o Troy Lathan & Joe Foote,     Gatesville, TX 76528-3253
10483984      L&L Cattle,    The National Bank,     Gatesville, TX 76528
10483430     +LACY BROTHERS,    2873 LUELLA ROAD,     SHERMAN, TX 75090-5150
10483431     +LARRY NICHOLS,    1008 13TH STREET,     SNYDER, OK 73566-2858
10483172     +LC Cattle Co.,    Cox,    PO Box 679,    Wichita, KS 67201-0679
10483173     +LC Cattle Co.,    Verizon Wireless,     PO Box 105378,    Atlanta, GA 30348-5378
10483433     +LHL PARTNERSHIP,    216 PASEO DE VIDA ST,     ALTUS, OK 73521-2136
10483434     +LONE OAK FEEDERS INC.,     P.O. BOX 1949,    STEPHENVILLE, TX 76401-0019
10483435     +LUIS CERNOCH,    6711 GREEN MEADOW LANE,     TERRELL, TX 75160-0160
10483436     +LUKE HOOVER,    1540 TRESS SHOP RD,     TRENTON, KY 42286-9720
10483988     +Lang Trucking,    Lynn Lang,    PO Box 187,    Jackson, MO 63755-0187
10483989     +Larry & Pat Summers,     493 Dickerson Ranch Ln,    Conway, MO 65632-8521
10483163     +Larry Bragg,    305 Bradshaw Rd.,     Austin, KY 42123-9713
10483990     +Larry Carter,    6007 Lone Star Ridge Rd,     Edmonton, KY 42129-9224
10483991     +Larry Congleton,    5502 Campbellsburg Rd.,     Campbellsburg, KY 40011-7506
10483165     +Larry Howard,    A T & T,    1217 North Rushcreek Road,     Salem, IN 47167-6541
10483164     +Larry Howard,    PO Box 824,    New Albany, IN 47151-0824
10483992     +Larry Kirby,    1441 Ft. Chiswell Rd,     Max Meadows, VA 24360-3015
10483993     +Larry Memmott,    State National Bank, Las Cruces,      P.O. Box 1542,    Deming, NM 88031-1542
10483994     +Larry Nichols,    Bank of the Wichitas,     1008 13th Street,    Snyder, OK 73566-2858
10483998     +Larry Williams,    225 County Road 141,     Okolona, MS 38860-9752
10483997     +Larry Williams,    826 Grady Williams R,     Decherd, TN 37324-3949
10483167     +Larry Woody,    2245 Sanders Ridge Rd.,     Columbia, KY 42728-9136
10483999     +Larry Worley,    187 Worley Loop,     Monroe, TN 38573-5103
10484000     +Las Animas Transfer,     242 Bent Avenue,    Los Animas, CO 81054-1134
10483168     +Las Animas Transfer Inc.,     242 Bent Ave.,    Las Animas, CO 81054-1134
10483169      Laura Arrieta,    1129 Stockwell Ln.,     El Paso, TX 79902-2151
10484003     +Laurel Livestock,    PO Box 606,    London, KY 40743-0606
10484004     +Lauri Hogenes,    dba Chase Cattle Company,     9621 S. 156th Place,     Gilbert, AZ 85234-5020
10484005     +Laurie Livestock LLC,     Bob Laurie,    1404 Atlantic Crossing,    Fenton, MO 63026-6919
10509706      Lawrence County Treasurer,     916 15th Street, Ste. 27,     Bedford, IN 47421-3852
10483170     +Lawrence O. Richard,     3151 Edmonton Rd.,    Columbia, KY 42728-9493
10484006     +Lawrence Richard,    3151 Edmonton Rd,     Columbia, KY 42728-9493
10484007     +Lazy Y Cattle & Transportation,     Marty Bundy,    P.O. Box 1249,     St George, UT 84771-1249
10483174     +Leland Douglas Glass,     1814 Hiseville Park Rd.,     Cave City, KY 42127-8750
10484008     +Leland Glass,    1814 Hiseville Park Rd,     Cave City, KY 42127-8750
10483175     +Lenice H. Gibson,    8310 Subtle Rd.,     Edmonton, KY 42129-9115
10483176     +Lenny Asbury,    650 Mahogany Lane,     Hardyville, KY 42746-8108
10483177     +Leon Bogard Trucking,     2003 N. Spruce,    McAlester, OK 74501-3017
10484011      Leon Isenberg,    4942 Edmonton Road,     Tompkinsville, KY 42167-9411
10483178     +Leonard Clifton Smith,     1133 Brown Road,    Park City, KY 42160-7831
10484012     +Leonard Smith,    1321 Brown Rd,    Park City, KY 42160-7833
10483179     +Lewis Randall Richard,     2557 Richard Hollow Rd,     Columbia, KY 42728-7547
10483180     +Linda C. Wilson,    399 Weed-Keltner,     Edmonton, KY 42129-8820
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10484014      +Linda Wilson,    399 Weed Keltner Rd,     Edmonton, KY 42129-8820
10483181      +Linden Stockyard Inc.,     PO Box 480160,    Linden, AL 36748-0160
10484015      +Lindsay Farm,    Lipscomb Bros LS Mkt,inc.,      P.O. Box 383,    Como, MS 38619-0383
10483182      +Lipscomb Bros Livestock Market,      PO Box 383,    Como, MS 38619-0383
10484016      +Livestock Dispatch Service,      Steve Hendershot,    P.O. Box 133,    La Porte City, IA 50651-0133
10483183      +Livingston Stockyard,     PO Box 398,    c/o William Tinsley,     Livingston, AL 35470-0398
10484017      +Livingston Stockyards,     P.O. Box 398,    Livingston, AL 35470-0398
10484018      +Loftis Farm,    460 Stockton Lane,     Gainesboro, TN 38562-6101
10484019      +London Impressions,    921 Beasley Street Suite 220,      Lexington, KY 40509-4119
10484020      +Long Farm,    992 Morrison Park Rd,     Glasgow, KY 42141-8370
10483184      +Long Farms,    992 Morrison Park Rd.,     c/o Keith Long,    Glasgow, KY 42141-8370
10483185      +Louis Cernoch, Jr.,    6711 Green Meadow Ln.,      Terrell, TX 75160-0160
10484021       Louisiana Secretary Of State,      UCC Division/Central Registry,     P.O. Box 94125,
                Baton Rouge, LA 70804-9125
10484022      +Louisville Geek,    3900 Shelbyville Rd,     Suite 12,    Louisville, KY 40207-3133
10483186      +Louisville Geek,    3900 Shelbyville Rd #12,      Louisville, KY 40207-3133
10483187      +Loyd Dale Page,    9253 Edmonton Rd.,     Summer Shade, KY 42166-8669
10484023      +Luis Cernoch,    American National Bank,     6711 Green Meadow Lane,     Terrell, TX 75160-0160
10483189      +Lynn D. Hirsch,    502 Locust Lane,     Shelbyville, KY 40065-9700
10484024      +Lynn Hirsch,    502 Locust Lane,     Shelbyville, KY 40065-9700
10484025      +Lytle Street Development LLC,      1416 Lytle Street,    Louisville, KY 40203-1326
10483437       M & H LAND & CATTLE,     RT. #1,    CHATTANOOGA, OK 73528
10484026      +M W Borda Trucking,    Mark Borda,     P O Box 461,    Tabernash, CO 80478-0461
10484027       M. Larson Transfer,    800 County Rd C,     Oakland, NE 68045
10484028      +M.C. Merritt,    1495 CR 51,     Myrtle, MS 38650-9609
10483438      +MARK FREEMAN,    227 70 RD,    PONCA CITY, OK 74604-6136
10483439      +MARK GLASGOW,    ROUTE 1, BOX 236A,     TEMPLE, OK 73568-9610
10483440   ++++MARK VAUGHN,    3871 POLLY BELL RD,     PHEBA MS 39755-9591
              (address filed with court: MARK VAUGHN,       2441 POLLY BELL ROAD,     PHEBA, MS 39755)
10483441   ++++MCPHAIL LAND & CATTLE,     15888 N 2235 RD,     MOUNTAIN PARK OK 73559-5025
              (address filed with court: MCPHAIL LAND & CATTLE,        ROUTE 1, BOX 106,    MT PARK, OK 73559)
10484055   ++++MCPHAIL LAND & CATTLE,     STOCKMAN’S BANK,     15888 N 2235 RD,    MOUNTAIN PARK OK 73559-5025
              (address filed with court: McPhail Land & Cattle,        Stockman’s Bank,    Route 1, Box 106,
                Mt Park, OK 73559)
10484060      +MFA Oil & Propane,    2738 E Kearney St,     Springfield, MO 65803-4914
10484061   ++++MICHAEL PAGE,    8131 COUNTY HOUSE RD,     TOMPKINSVILLE KY 42167-7603
              (address filed with court: Michael Page,        1310 County House Rd,    Tompkinsville, KY 42167)
10483442      +MIDWESTERN CATTLE MARKETING,      2853 RD 121,    SIDNEY, NE 69162-3327
10483443      +MIKE & CLAY GAINES,    133 TAFF ROAD,     TAYLORSVILLE, GA 30178-1812
10483444      +MIKE CARTER,    3899 N 372 RD,     HOLDENVILLE, OK 74848-9452
10483445      +MIKE CRIBBS,    1360 E 410TH RD,     BOLIVAR, MO 65613-8367
10483446      +MITCH WORRELL,    20404 E COUNTY RD 166,     ALTUS, OK 73521-8013
10483447      +MOCK BROTHERS CATTLE CO.,     P.O. BOX 858,     ALTUS, OK 73522-0858
10484079   ++++MONTE HAIAR,    401 5TH ST,    FAIRFAX SD 57335-2123
              (address filed with court: Monte Haiar,       R.R.1, Box 2,     Fairfax, SD 57335)
10483448      +MOSELEY CATTLE CO & 1ST BANK,      25934 AL HWY. 25,    FAUNSDALE, AL 36738-3139
10483449      +MOSLEY CATTLE AUCTION LLC,     P.O. BOX 548,     BLAKELY, GA 39823-0548
10483517   ++++MULL FARMS & FEEDING,     549 R RD,    PAWNEE ROCK KS 67567-6708
              (address filed with court: MULL FARMS & FEEDING,        RT. 1 BOX 74,    PAWNEE ROCK, KS 67567)
10484030      +Mac’s Vet Supply, LLC,     601 Front St,    Monett, MO 65708-2151
10484029      +Macon Stockyard,    P O Box 476,     Macon, MS 39341-0476
10483190      +Macon Stockyard, Inc.,     PO Box 476; 12409 Hwy 145,     Macon, MS 39341-0476
10483191      +Madison A. Welch,    4030 N. 900 E.,     Lafayette, IN 47905-9673
10484031      +Madison Welch,    4030 N. 900 E.,     Lafayette, IN 47905-9673
10483192      +Marcia Cloud,    2078 Whitney Woods Rd,     Cave City, KY 42127-9332
10484032      +Marcia Cloyd,    2078 Whitney Woods Rd,     Cave City, KY 42127-9332
10462217      +Marion Bradford,    197 Hidden Lake Rd.,     Hendersonville, TN 37075-5528
10484033      +Marion Bradford,    P O Box 771,     Glasgow, KY 42142-0771
10484034      +Marion Miller,    30143 Kapok Dr,     Stark City, MO 64866-8175
10483193      +Marion Water & Sewer,     217 South Main Street,     Marion, KY 42064-1541
10484035      +Mark Allen Wedel,    Bank of Kremlin,     Box 144,    Ringwood, OK 73768-0144
10484036      +Mark Edmonds,    1177 Beltline Rd Ms 5001m,      Coppell, TX 75019-4642
10484037      +Mark Faughn,    10595 Hwy 902E,     Fredonia, KY 42411-9787
10483194      +Mark Faughn,    A T & T,    10595 Hwy 902 E,     Fredonia, KY 42411-9787
10669490      +Mark Freeman, III,    c/o Guy Clark, Esq.,      Northcutt, Clark, Gardner, Hron & Brune,
                PO Box 1669,    Ponca City, OK 74602-1669
10484038      +Mark Guthrie,    5120 Prall Hill Rd,     Henryville, IN 47126-8825
10484039      +Mark Shirley,    2127 Cave Ridge New Liberty Rd,      Knob Lick, KY 42154-6312
10483195      +Mark W. Shirley,    2127 Cave Ridge New Liberty Rd,      Knob Lick, KY 42154-6312
10483196      +Mark Wayne Richmond,     5121 Oak Ridge Rd,     Ravenden Springs, AR 72460-9311
10484040      +Mark White,    PO Box 306,    Guntown, MS 38849-0306
10484041      +Maron Water & Sewer Dept.,     217 South Main St,     Marion, KY 42064-1541
10484042       Martin Bros,    3160 N. Jackson Hwy,     Canmer, KY 42722-9437
10484044      +Martin Farms Inc,    c/o Bobby Martin,     3160 N Jackson Hwy,     Canmer, KY 42722-9437
10484045      +Matt Eller,    PO Box 570,    Okolona, MS 38860-0570
10484046      +Matt Williams,    269 Lawrence 2140,     Sarcoxie, MO 64862-8255
10483197      +Matthew Cameron White,     577 Jamestown Hwy.,     Livingston, TN 38570-8609
10484047      +Matthew Parrish Gibson,     7827 Tandy Rd.,     Lanesville, IN 47136-9645
10484048      +Matthew White,    577 Jamestown Hwy,     Livingston, TN 38570-8609
10484049      +Maxie Harlan,    402 W 5th St.,     Tompkinsville, KY 42167-1310
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10484050     +Maxine Morgan,    3965 Lawson Bottom Rd,     Burkesville, KY 42717-9530
10483198     +Maxine Morgan Estate,    3965 Lawson Bottom Rd.,      Burkesville, KY 42717-9530
10483199     +Maydell Whitlow,    634 Philip Whitlow Rd.,     Summer Shade, KY 42166-9023
10484052     +McCubbin Farm,    2075 Spurlington Rd,     Campbellsville, KY 42718-7260
10484054     +McDonald Veterinary Clinic,     7749 East Us 150,     Hardinsburg, IN 47125-6491
10483201     +McPhail Land & Cattle,    15888 N. 2235 Rd.,     Mt. Park, OK 73559-5025
10484058     +Meridian Stockyard,    P.O. Box 581,     Meridian, MS 39302-0581
10483202     +Meridian Stockyards, Inc.,     PO Box 581,    Meridian, MS 39302-0581
10483203     +Metcalf County Sheriff’s Department,      PO Box 371,    Property Tax Division,
               Edmonton, KY 42129-0371
10484059     +Metcalfe Co Sheriff Dept,     Property Tax Division,     P.O. Box 371,    Edmonton, KY 42129-0371
10483204     +Michael Emberton,    1491 Sulphur Lick Rd.,     Tompkinsville, KY 42167-7051
10576614     +Michael J. Walro, Trustee for,     East West Trucking Co., LLC,     426 East Main Street,
               Madison, IN 47250-3539
10483205     +Michael Perry Travis,    208 Oak Street,     Marion, KY 42064-1630
10483206     +Michael Wade Loula,    Rt. 1 Box 50,     Colony, OK 73021-9631
10483207     +Mid State Stockyards, LLP,     PO Box 210,    Letohatchee, AL 36047-0210
10484062     +Mid State Waste,    P.O. Box 2068,    Glasgow, KY 42142-2068
10484063     +Mid-Kentucky Livestock Market,     P.O. Box 134,    Upton, KY 42784-0134
10483209     +Mid-South Livestock Center, LLC,     PO Box 3033,     Lebanon, TN 37088-3033
10484064      Midwestern Insurance Alliance,     PO Box 436909,     Louisville, KY 40253-6909
10484065     +Mike Bradbury,    Texas Bank,    4304 John Reagan,     Marshall, TX 75672-2522
10484066     +Mike Burgess,    360 Cherokee Road,     Lucas, KY 42156-9353
10484067      Mike Loula,    Farm Credit,    Colony, OK 73021
10484069     +Mike Luke,    4845 Cook Boatdock Rd,     Baxter, TN 38544-4903
10483210     +Mike Luke,    4845 Cookeville Boatdock Rd.,     Baxter, TN 38544-4903
10484070     +Mike Smith,    339 Euclatubba Rd,    Guntown, MS 38849-4506
10484071     +Mike Travis,    208 Oak Street,    Marion, KY 42064-1630
10484072     +Mike White,    177 Breeding Road,    Edmonton, KY 42129-8915
10484073     +Miles Spurling,    2120 Spurlington Rd,     Campbellsville, KY 42718-7261
10484074     +Milligan Farms,    590 Mud College,     Hartford, KY 42347-9584
10483211     +Milligan Farms,    651 Grassy Springs Rd.,     Columbia, KY 42728-8374
10484075     +Milton Shepard,    625 W Egypt Rd,    Columbia, KY 42728-9056
10483212     +Mitchell Kinser,    2991 Jim Glover Rd.,     Glasgow, KY 42141-9447
10484076     +Mitchell Kinzer,    2991 Jim Glover Rd,     Glasgow, KY 42141-9447
10484077     +Mitchell Livestock Auction, Inc,     P.O. Box 516,     Mitchell, SD 57301-0516
10484080      Montgomery Stock Yard, Inc.,     P.O. Box 250108,     Montgomery, AL 36125-0108
10484081     +Moose Sulivan,    5241 Rickman Rd,    Cookeville, TN 38506-7725
10483213     +Moose Sullivan (Leonard),     5241 Rickman Rd.,    Cookeville, TN 38506-7725
10484082     +Morgan Livestock LLC,    Randall Morgan,     P.O. Box 196,    Trenton, KY 42286-0196
10653236     +Moseley Cattle Auction LLC,     PO Box 548,    Blakely GA 39823-0548
10483214    #+Mosley Cattle Auction, LLC,     1044 Arlington Ave.,     Blakely, GA 39823-2362
10483215     +Moulton Stockyard, Inc.,     13130 AL Hwy 157,    c/o William Whiteshell,     Moulton, AL 35650-3703
10484083     +Moulton Stockyards,    13130 Alabama Hwy 157,     Moulton, AL 35650-3703
10484084     +Mountain Valley,    615 Walnut Street,     Jeffersonville, IN 47130-3624
10664065     +Mr. Louis Cernoch, Jr.,     c/o Laura L. Worsham,     Jones, Allen & Fuquay, LLP,
               8828 Greenville Ave.,    Dallas, TX 75243-7143
10484085     +Mulder Trucking Inc,    P.O. Box 205,     Doon, IA 51235-0205
10483216     +Myles Spurling,    2120 Spurlington Rd.,     Campbellsville, KY 42718-7261
10483450     +NORTHEAST GEORGIA LIVESTOCK,     P.O.BOX 80062,    ATHENS, GA 30608-0062
10483451     +NORTHERN LIVESTOCK VIDEO,     2443 N FRONTAGE RD,     BILLINGS, MT 59101-7361
10483519     +NU-TECHNOLOGIES,    9203 VALARETTA DR.,     GRETNA, NE 68028-3617
10483518     +NUTECH, INC,    518 ROAD 9,    SCHICKLEY, NE 68436-4029
10484086     +Nance Floral Shoppe, Inc.,     624 E. Spring St.,     New Albany, IN 47150-2994
10484087     +Nash, Cleveland, & Godfrey Dvm - Psc,      3260 Harrodsburg Road,    Danville, KY 40422-9242
10484088      Nathan Acree,    175 Donald Hurt Road,     Summer Shade, KY 42166-7600
10484089     +Nathan Nichols,    21767 E. 1580 Rd.,     Mt. Park, OK 73559-5040
10484090     +Natural Bridge Stockyard,     1987 Co Rd 1422,    Cullman, AL 35058-2013
10483217     +Natural Bridge Stockyard,     PO Box 401,    Natural Bridge, AL 35577-0401
10484091     +Nelson Trucking Inc,    Jefferey Nelson,     2547 Cold Spring Road,     Mountain City, TN 37683-8026
10484092     +New Albany Municipal Utilities,     311 Hauss Square Rm 309,      City County Building,
               New Albany, IN 47150-3570
10483218     +New Albany Municipal Utilities,     PO Box 909,    New Albany, IN 47151-0909
10484093     +Nichols Livestock,    21767 E. 1580 Rd.,     Mt. Park, OK 73559-5040
10484094     +Nick’s Pest Management,     80 Curtis Mine Rd,    Madisonville, KY 42431-9378
10484095     +Nolan Henderson,    P.O. Box 64,    Tehuacana, TX 76686-0064
10484096     +Nora P. Dean,    916 Thunderbird,    El Paso, TX 79912-3427
10484097      North Florida Farmers L.S.,     PO Box 3235,    Lake City, FL 32056-3235
10667082     +North Florida Livestock Market, Inc.,      12171 S. U.S. Highway 441,     Lake City, FL 32025-2685
10483219     +Northern Livestock Video Auction,     2443 N, Frontage Rd.,     Billings, MT 59101-7361
10483220     +Northwest Alabama Livestock Auction,      PO Box 459,    Russellville, AL 35653-0459
10607907     +Nu Technologiesm Inc.,    9203 Valaretta Drive,     Gretna, NE 68028-3617
10483452      OMAN CATTLE FEEDERS,    ROUTE 1, BOX 94,     AVOCA, TX 79503
10666686     +Oak Lake Cattle Co.,    1055 U.S. Highway 98 North,      Okeechobee, FL 34972-8766
10484098     +Oaklake Cattle Company,     P.O. Box 1284,    Okeechobee, FL 34973-1284
10484099     +Ocala Livestock Market,     P.O. Box 539,    Lowell, FL 32663-0539
10483221     +Ocala Livestock Market,     PO Box 539,    c/o Michael A. Yeomans,     Lowell, FL 32663-0539
10666602      Ocala Livestock Market, Inc.,     9100 NW Highway 25A,     Ocala, FL 3348
10483222     +Oce Imagistics, Inc.,    7555 E Hampden Avenue, Suite 200,      Denver, CO 80231-4833
10484100      Office Depot,    PO Box 88040,    Chicago, IL 60680-1040
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10484101      +Ohio Dept. Of Agriculture,     Division Of Animal Industry,     8995 East Main Street,
                Reynoldsburg, OH 43068-3342
10483223      +Okeechobee Livestock Market, Inc.,      PO Box 1288,    Okeechobee, FL 34973-1288
10484102      +Okeechobee Livestock Mkt.,     P.O. Box 1288,     Okeechobee, FL 34973-1288
10484103      +Orender Truck Line, Inc,     7562 West 349th Street,     Lebo, KS 66856-9355
10484104      +Osbond Copher,    1280 Peasticks Rd,     Owingsville, KY 40360-8848
10484106      +Ozark Regional Stockyard Inc,      P.O. Box 928,    West Plains, MO 65775-0928
10483225      +Ozarks Regional Stockyards, Inc,      PO Box 928,    West Plains, MO 65775-0928
10483453   ++++PATRICK L. GAINES,    20682 E 2000 RD,     WAURIKA OK 73573-5170
              (address filed with court: PATRICK L. GAINES,        ROUTE 2, BOX 144A,    WAURIKA, OK 73573)
10483454      +PAUL LANGFORD,    ROUTE 1, BOX 57,     WALTERS, OK 73572-9740
10484114      +PBI Bank,    P.O. Box 549,    Glasgow, KY 42142-0549
10483455      +PIEDMONT LIVESTOCK, INC.,     PO BOX 217,    ALTAMAHAW, NC 27202-0217
10483456      +PRODUCERS CATTLE AUCTION,     7441 JOHNSON COURT,     MOBILE, AL 36695-4415
10483457      +PRODUCERS LIVESTOCK,     230 WEST CENTER, PO BOX 540477,     N. SALT LAKE CITY, UT 84054-0477
10484107      +Pacific Life Insurance Co.,     Tri State Regional Life Office,     625 Eden Park Dr #850,
                Cincinnati, OH 45202-6016
10484108      +Paco Anuez,    Anuez Trucking,     P.O. Box 640,    Okeechobee, FL 34973-0640
10484109      +Pam Fergurson,    2535 Meeting Creek Rd,     Eastview, KY 42732-8715
10483226      +Pamela Gibson,    8843 Tandy Rd,     Lanesville, IN 47136-8733
10484110      +Parks Livestock Inc,     Box 429,    Oakwood, IL 61858-0429
10484111      +Paul George,    70 Roberts Road,     Watertown, TN 37184-4422
10484112      +Paul Kropf,    574 Blue Bayou Road S,     Nashville, AR 71852-7569
10484113      +Paul Langford,    Farm Service Agency, Waurika,      Route 1, Box 57,   Walters, OK 73572-9740
10484115      +Peggy Cary,    1321 Brown Rd,     Park City, KY 42160-7833
10483227      +Peggy Smith Carey,    1321 Brown Road,     Park City, KY 42160-7833
11061487      +Peoples Bank and Trust Company of Pickett County,       c/o Lisa Koch Bryant,
                Foley Bryant Holloway & Raluy,      500 West Jefferson Street, Suite 2450,
                Louisville, KY 40202-2812
10663191      +Peoples Bank of Coldwater Kansas,      Attn: Wynn Alexander,     101 E. Main Street,
                Coldwater, KS 67029-9757
10484117      +Peoples Livestock Auction,     P.O. Box 268,     Houston, MS 38851-0268
10483228      +Peoples Stockyard,    PO Box 3064,     Cookeville, TN 38502-3064
10484118      +Phil Clevenger,    10653 Hwy 127,     Sweet Springs, MO 65351-2115
10484119      +Phil Hewitt,    2350 Wilkes Hollow Rd,     Lynnville, TN 38472-7004
10483229      +Phil Mulder Trucking, Inc.,     PO Box 205 Main St.,     Doon, IA 51235-0205
10483231      +Phillip E. Martin,    6853 Fairview Rd.,     Cookeville, TN 38501-9715
10484120      +Phillip Gray,    3448 Park City Bon Ayr Rd,      Park City, KY 42160-7812
10483232      +Phillip L. Richey,    111 J.W. York Rd.,     Scottsville, KY 42164-7502
10484121      +Phillip Martin Livestock,     6853 Fairview Road,     Cookeville, TN 38501-9715
10483233      +Phillip Nathan Acree,     175 Donald Hurt Rd.,     Summer Shade, KY 42166-7600
10484122      +Phillip Richey,    111 York Rd,     Scottsville, KY 42164-7502
10484123      +Phillip Sims Trucking LLC,     35147 County Road 42,     Otis, CO 80743-9554
10483234      +Phillip Taylor Reed,     21 Reed Rd.,    Foraker, OK 74652-5168
10484124       Phillip Whitlow,    476 P Whitlow Road,     Summer Shade, KY 42166
10483236      +Piedmont Livestock Inc.,     PO Box 217,    c/o Joseph R. Jones,    Altamahaw, NC 27202-0217
10484126      +Pine Ridge Farm,    1160 The Ridings,     Winchester, KY 40391-8205
10484127      +Platt Livestock, LLC,     P.O. Box 164,    New Castle, UT 84756-0164
10484128      +Poe Brothers,    8171 Highway 41,     Pontotoc, MS 38863-9767
10484129      +Pontotoc Stockyard,     P.O. Box 1026,    Pontotoc, MS 38863-1026
10483238      +Pontotoc Stockyard,     PO Box 1026,    c/o Ron Herndon,    Pontotoc, MS 38863-1026
10484131      +Prime Time Express LLC,     Brian,    850 S. Dakota Road,    Corsica, SD 57328-8800
10484132      +Producers Vet Supply,     1028 Story Ave,    Louisville, KY 40206-1880
10484133      +Pruitt Farms,    Kyle Pruitt,     4215 F M 929,    Gatesville, TX 76528-3393
10484135      +QBE Insurance Corporation,     Administrative Service Center,     PO Box 90702,
                Bellevue, WA 98009-9702
10484136       Quill,    PO Box 37600,    Philadelphia, PA 19101-0600
10484137      +R Bar Ranch Trucking LLC,     701 South Main,     Yates Center, KS 66783-1723
10484138      +R C Buckley,    3096 Pinyon Place,     Grand Jct., CO 81504-5634
10484140      +R.D. Lane,    370 Maple Grove Lane,     Munfordville, KY 42765-8010
10483239   ++++RACHEL PHELPS,    3079 LAWSON BOTTOM RD,     BURKESVILLE KY 42717-9511
              (address filed with court: Rachel Phelps,        3079 Lawson Bottom Rd.,    Burkesville, KY 42717)
10483458      +RAFTER K FARMS,    116 WILD LIFE RD.,     BUFFALO, MO 65622-4137
10483459      +RALPH HOODENPYLE,    ROUTE 3, BOX 218,     WALTERS, OK 73572-9550
10483460      +RANDY HALSTED,    RT.2, BOX 85,     MT. VIEW, OK 73062-9621
10483246      +RD Lane,    370 Maple Grove Lane,     Rowletts, KY 42765-8010
10483461      +RICKY BEARD,    ROUTE 1, BOX 36K,     DEVOL, OK 73531-9747
10483462      +RITTER FEEDYARD,    1376 10TH ROAD,     BEEMER, NE 68716-4077
10483463      +RIVER BY CATTLE,    1420 SYCAMORE AVE,     CORSICANA, TX 75110-3500
10483464      +ROANOKE STOCKYARDS,INC.,     P.O. BOX 307,    ROANOKE, AL 36274-0307
10483465      +ROBERT DOBBS,    RR 1, BOX 207,     TEMPLE, OK 73568-9788
10483466      +ROBERT NICHOLS,    21767 E. 1580 RD.,     MT. PARK, OK 73559-5040
10484178   ++++ROBERT SPROULS,    S & S,    395 BAKERTON RD,     BAKERTON KY 42717-9503
              (address filed with court: Robert Sprouls,        S & S,   395 Bakerton Road,    Bakerton, KY 42711)
10483468      +RODNEY ANDRETTI,    BOX 254,    SAUTO, TX 76472-0254
10484186   ++++ROGER TURNER,    9046 OLD GLASGOW RD,     MOUNT HERMON KY 42157-8079
              (address filed with court: Roger Turner,       10060 Glasgow Rd,    Mt Hermon, KY 42157)
10484189   ++++RONNIE GERALDS,    12832 CENTER POINT RD,     TOMPKINSVILLE KY 42167-8638
              (address filed with court: Ronnie Geralds,        13216 Center Point Rd,    Tompkinsville, KY 42167)
10483469      +ROY BARTLING,    203 SOUTH MAIN,     WAURIKA, OK 73573-3055
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10484141     +Rachael Phelps,    3133 Lawson Bottom Rd,     Burkesville, KY 42717-9511
10484143      Rain And Hail LLC,    PO Box 14490,    Des Moines, IA 50306-3490
10484144     +Randall C. Spurling Trucking,     Randall C. Spurling,    2120 Spurlington Rd.,
               Campbellsville, KY 42718-7261
10484145     +Randall Ellis,    Ellis Livestock Hauling,     5359 Mt. Hebron Road,    Lancaster, KY 40444-8223
10484146     +Randall Richards,    2557 Richard Hollow Rd,     Columbia, KY 42728-7547
10464561      Randall Spurling Trucking,     2120 Spurling Rd.,    Campbellsville, KY 42718
10483240     +Randall Spurling Trucking,     2120 Spurlington Rd.,    Campbellsville, KY 42718-7261
10483241     +Randy Carden, Inc.,    376 Wallis Rd.,     Villa Rica, GA 30180-4002
10484148     +Randy Gray,    60051 Stonewall Road,     Amory, MS 38821-9043
10484150     +Randy Hodge Livestock, Inc,     P.O. Box 627,    Newport, TN 37822-0627
10484151      Randy Hoover And Son,    3973 St Rd 14,     West Plains, MO 65775
10484152     +Randy Lloyd,    P.O. Box 390,    Blackwell, TX 79506-0390
10483242     +Randy Nelson,    208 Butler St.,    Columbia, KY 42728-1744
10484153     +Randy Richey,    111 York Rd,    Scottsville, KY 42164-7502
10483243     +Randy Richey,    500 J.W. York Rd.,    Scottsville, KY 42164-7503
10483244     +Randy Roberts,    5055 W. Swamp Rd.,     Winchester, OH 45697-9500
10484154     #Randy Sherrard,    2763 Oak Hill Rd.,     Sonora, KY 42776-9438
10484155     +Rayburn Smith,    103 Smith Thomas Road,     Natchitoches, LA 71457-7363
10484156     +Razorback Farms Of Missouri,     131 Industrial Park Dr, Ste #3,     Hollister, MO 65672-5621
10483245     +Razorback Farms of Missouri,     131 Industrial Park Dr. Suite 3,      c/o Dane Braden,
               Hollister, MO 65672-5621
10467586     +Reiter Trucking,    324 Elm St,    Hereford, TX 79045-2707
10440153      Reps Dispatch LLC,    16150 MCR 19,    Fort Morgan, CO 80701
10484157     +Republic Bank & Trust Co,     P.O. Box 70749,    Louisville, KY 40270-0749
10483247     +Republic Bank & Trust Company,     661 S. Hurstbourne Parkway,     PO Box 70749,
               Louisville, KY 40270-0749
10534761     +Republic Bank and Trust Company,     661 South Hurstbourne Parkway,     Louisville, KY 40222-5079
10484158     +Rex Bunch,    P O Box 212,    Edmonton, KY 42129-0212
10484159     +Rex Elmore,    1817 Tobacco Rd,    Glasgow, KY 42141-8486
10483248     +Richard Banks,    400 Johnson Cemetary Rd.,     Columbia, KY 42728-9571
10484160     +Richard Banks,    400 Johnson Cemetery Rd,     Columbia, KY 42728-9571
10484162     +Richard Lyle,    8627 New Glasgow Rd,     Scottsville, KY 42164-6571
10483250     +Richard Rivers Trucking,     11510 Tanner Williams Rd.,    Lucedale, MS 39452-8317
10483251     +Richard Ross,    2463 Dragstrip Rd.,     Tompkinsville, KY 42167-7343
10484164     +Richard Turner,    11729 Burkesville Hwy,     Summer Shade, KY 42166-9426
10484166     +Richardson, Inc,    P.O. Box 172,    Lucerne, CO 80646-0172
10484167     +Richey Melson,    2628 Melson Ridge Rd,     Columbia, KY 42728-8017
10483252     +Richie Melson,    2628 Melson Ridge Rd.,     Columbia, KY 42728-8017
10484168     +Richmond Farm,    Mark Richmond,    5121 Oak Ridge Road,    Ravenden, AR 72460-9311
10484169     +Richy Robins,    250 Neals Creek Road,     Stanford, KY 40484-9126
10484170     +Ricky Ross,    2463 Drag Strip Rd,    Tompkinsville, KY 42167-7343
10440125     +Rita Cravens,    1525 Dogwalk Rd.,    Alpine, TN 38543-6140
10483253     +River Region Propane Gas,     PO Box 2250,    Paducah, KY 42002-2250
10483254     +Roanoke Stockyard, Inc.,     1009 Chestnut St.; PO Box 307,     Roanoke, AL 36274-0307
10484172     +Roberson Transportation, Inc.,     P.O. Box 84,    Moffett, OK 74946-0084
10484173     +Robert Alberson,    215 Landmark Lane,     Hilham, TN 38568-5951
10470005     +Robert Brown,    325 Flat Lick Lane,     Herndon KY 42236-8210
10483255      Robert Douglas Alberson,     Landmark Ln.,    Hillman, TN 38568
10484174     +Robert Hyde,    937 Phillips Lane,    Franklin, KY 42134-7142
10484175     +Robert M. Rodenberger, Jr.,     9009 North May Ave,    Sutton Place #171,
               Oklahoma City, OK 73120-4490
10484176     +Robert Nichols,    Bank of Wichitas & Legends Ban,     21767 E. 1580 Rd.,    Mt. Park, OK 73559-5040
10484177     +Robert Rawls Livestock,     P.O. Box 3220,    Brookhaven, MS 39603-7220
10484179     +Rockin M Farms LLC,    Michael Market Jr.,     12041 Hwy 136 East,    Henderson, KY 42420-8816
10484180     +Rod Case,    P.O. Box 108,    Flemingsburg, KY 41041-0108
10483256     +Rodney & Judy Burgess,     4457 Peters Creek Rd.,    Austin, KY 42123-9753
10484182     +Rodney Burgess & Judy Burgess,     4457 Peters Creek Rd,    Austin, KY 42123-9753
10483257     +Rodney Lane Richardson,     376 South Jackson Hwy.,    Hardyville, KY 42746-8297
10484183     +Rodney Richardson,    376 S Jackson Hwy,     Hardyville, KY 42746-8297
10484184     +Roger Burris,    1414 Love Knob Rd,    Knob Lick, KY 42154-9615
10483258     +Roger Dale Thomas,    199 Rhoton Cave Rd.,     Tompkinsville, KY 42167-7506
10483259     +Roger P. Burris,    1414 Love Knob Rd.,     Knob Lick, KY 42154-9615
10483260     +Roger Payne,    115 Beverly Drive,    Glasgow, KY 42141-2703
10484185     +Roger Thomas,    199 Rhoton Cave Rd,     Tompkinsville, KY 42167-7506
10483261     +Roger Turner,    9046 Old Glasgow Rd.,     Mt. Hermon, KY 42157-8079
10483262     +Rolando Acotsa-Reza,    PO Box 503,    Alliance, NE 69301-0503
10484187     +Ron Neufeld,    5590 NE 157th Terr,    Williston, FL 32696-6437
10483263     +Ron Neufeld Trucking,    5590 NE 157th Terr,     Williston, FL 32696-6437
10651171     +Ron P. Reed,    PO Box 695,    Pawhuska OK 74056-0695
10484188    #+Ron Rabich,    5920 Dry Creek Rd,    Elk Horn, KY 42733-9613
10667078     +Ron Sizemore Trucking, Inc.,     9871 S.E. 22nd Avenue,    Webster, FLORIDA 33597-4077
10483264    #+Ronald Rabich,    5920 Dry Creek Road,     Elk Horn, KY 42733-9613
10484190     +Ronnie Lemons,    HC 81, Box 287,    Lewisburg, WV 24901-9544
10483265     +Ronnie Reiter,    324 Elm Street,    Hereford, TX 79045-2707
10484191     +Ronnie Reiter Trucking,     Ronnie Reiter,    324 Elm,   Hereford, TX 79045-2707
10484192     +Ronnie Sizemore,    9871 S.E. 22nd Street,     Webster, FL 33597-4077
10483266     +Roy Anthony Depolitte,     112 Hull Rd.,    Monroe, TN 38573-6035
10484193     +Roy Blythe,    210 R Blythe Rd,    Summer Shade, KY 42166-9007
10483267     +Roy Dee Blythe,    210 Roy Blythe Rd.,     Summer Shade, KY 42166-9007
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10484194      +Roy Depolitte,    112 Hall Rd,    Monroe, TN 38573-6035
10483268      +Roy Kinslow,    1844 Dripping Springs,     Glasgow, KY 42141-9775
10484195      +Roy Kinslow,    1844 Dripping Springs Rd,     Glasgow, KY 42141-9775
10484196      +Roy Leffler,    4235 Rothrock Mill Road Nw,      Depauw, IN 47115-8812
10483269      +Roy Pace,    720 Judd Road,    Edmonton, KY 42129-9000
10484198       Roy Starnes,    8300 Clasgow Rd,     Mt Hermon, KY 42157
10483270      +Roy Starnes,    398 Starnes Rd.,     Mt. Hermon, KY 42157-8909
10484199      +Royal Beef,    & Nations Bank,    11060 N. Falcon Rd.,      Scott City, KS 67871-6037
10483271      +Royal Beef,    11060 N Falcon Rd,     Scott City, KS 67871-6037
10484200      +Rts Livestock Hauling,     454 Blackhawk Rd.,     Galens, MO 65656-9694
10484201      +Russell Bros,    4193 Polar Grove School Rd,      Greensburg, KY 42743-9353
10483272      +Russell Bros.,    4193 Poplar Grove School Rd.,      Greensburg, KY 42743-9353
10483273      +Russell Spradin Farm,     766 Bishop Rd,    Glasgow, KY 42141-9626
10484202      +Russell Spradlin,     766 Bishop Rd,    Glasgow, KY 42141-9626
10483274      +S & S Cattle,    407 Bakerton Rd.,     Burkesville, KY 42717-9503
10484203      +S & S Cattle,    Attn: Robert Sprouls,     375 Bakerton Rd,     Bakerton, KY 42717
10484204       S & T Trucking,    P.O. Box 875,     Ranchester, WY 82839-0875
10483275      +S&T Trucking Logistics,     803 S. Ben St.,     PO Box 400,    Parkston, SD 57366-0400
10483470   ++++SAM COUNTISS,    6411 STATE HIGHWAY 5,     WAURIKA OK 73573-5112
              (address filed with court: SAM COUNTISS,       RR 2, BOX 24,     WAURIKA, OK 73573)
10483471       SEALY AND SON,    700 HIGHWAY 80 E,     UNIONTOWN, AL 36786
10483472      +SHELTON & MONTGOMERY,     P.O. BOX 389,    WAURIKA, OK 73573-0389
10483473      +SIDNEY HOSTETLER,     3962 CO RD 3171,    HARTMAN, AR 72840-8730
10483475      +SOLM, INC.,    P.O. BOX 939,    APACHE, OK 73006-0939
10483476       SONNY STOLL,    RT 1,    CHATTANOOGA, OK 73528
10483479      +STEPHEN DILKS,    ROUTE 2, BOX 25,     RANDLETT, OK 73562-9714
10483480      +STEVE FLETCHER,    ROUTE 3, BOX 122,     WALTERS, OK 73572-9511
10483520      +SUPREME CATTLE FEEDERS,     19016 ROAD I,    KISMET, KS 67859-6026
10484205      +Sabrina Stapp,    1609 Cedar Grove,     Greensburg, KY 42743-9014
10484206      +Sadro Transport, LLC,     4009 Section Line Rd,     Bad Axe, MI 48413-8038
10484207      +Salem Livestock Auction,     P.O. Box 1252,     Salem, MO 65560-5152
10484208       Sam Fousek,    First National Bank,     106 RR SW,    Wagner, SD 57380
10484209      +Sand Mountain Stockyard,     P.O. Box 25,    Albertville, AL 35950-0001
10483277      +Sandy Glass Trucking,     90 Circle Rd,    Glasgow, KY 42141-9733
10484210      +Sandy Glass Trucking,     Sandy Glass,    90 Circle Road,     Glasgow, KY 42141-9733
10484211      +Schuchmann Transport,     4560 S. Campbell Suite T,     Springfield, MO 65810-1780
10484212      +Sconyers & Son Cattle, Inc,     P.O. Box 87,     106 S Commerce St,    Geneva, AL 36340-2211
10484213      +Scott Broughton,    577 Lanarkshire Place,      Lexington, KY 40509-2294
10484214       Scott Browning,    3730 Edmonton Road,     Glasgow, KY 42141-9511
10483278      +Scott Christopher Cowles,     2363 Otter Gap Rd.,     Bowling Green, KY 42101-8309
10484215      +Scott Cowles,    2363 Otter Gap Rd,     Bowling Green, KY 42101-8309
10484216      +Scott Ledbetter Trucking LLC,     P.O. Box 373,     Bruce, MS 38915-0373
10484218      +Scott Thompson,    38 Daniels Rd,     Adel, GA 31620-6208
10484219      +Scotts Hill Stockyard,     PO Box 1796,    Savannah, TN 38372-4796
10483279      +Scotts Hill Stockyard,     PO Box 1796,    c/o James Linville,     Savannah, TN 38372-4796
10484220     #+Second Chance Livestock,     Dispatch, Inc,     P O Box 88,    Pekin, IN 47165-0088
10484221      +Seibert Cattle Co.,     Farm Credit of Phoenix,     1136 East Campbell Ave.,    Phoenix, AZ 85014-3913
10483280      +Seibert Cattle Co., LLC,     1136 E. Campbell Ave.,     Phoenix, AZ 85014-3913
10483281     #+Sharon Barnes,    143 Hodge St,    Charlestown, IN 47111-1777
10484223      +Shawn Hamilton,    Rt 1, Box 3980,     Dora, MO 65637-9413
10484224      +Sheila Magner,    704 Hwy 337 SE,     Corydon, IN 47112-5349
10483282      +Sheree Baumgart,    2755 Hwy 62 NE,     Corydon, IN 47112-7707
10484226      +Siegel Land And Livestock Trucking LLC,      2726 Pottersford Dr.,     Florence, MO 65329-2015
10484227      +Smeal Transfer, Inc.,     PO Box 85,    Snyder, NE 68664-0085
10484228      +Smith Brothers, Inc.,     Pat Smith,    Box 68,    Stark, KS 66775-0068
10484229      +Somerville Livestock Sales,     P.O. Box 382,     Somerville, TN 38068-0382
10484230      +South Central Rural Telephone,     P.O. Box 159,     Glasgow, KY 42142-0159
10483283      +Southeast Livestock Exchange, LLC,      Attn: John M. Queen III,      P.O. Box 908,
                Canton, NC 28716-0908
10484231      +Southeast Truck Dispatch,     P.O. 282,    West Point, MS 39773-0282
10484232      +Southern Transport LLC,     309 Connie Drive,     Elk City, OK 73644-4813
10483285      +Southern Transport LLC,     309 Connie Rd,    c/o Greg Wood,     Elk City, OK 73644-4813
10484233      +Southland Haulers LLC,     Howard Compton,    P.O. Box 142,     Brantley, AL 36009-0142
10483286      +Southland Haulers, LLC,     PO Box 142,    Brantely, AL 36009-0142
10484234       Spencer Thompson,     121 Beauchamp St,    Edmonton, KY 42129
10483287      +Spencer Thompson,     301 Beauchamp St.,    Edmonton, KY 42129-9356
10484235       Staples,    Dept. Det,    P.O. Box 83689,    Chicago, IL 60690-3689
10484236      +Star Kan Inc,    P.O. Box 130,    Edna, KS 67342-0130
10483288      +Stephen A. Oelze,     2753 Hwy 2779,    Hardinsburg, KY 40143-4326
10484237      +Stephen Oelze,    2753 Hwy 2779,     Hardinsburg, KY 40143-4326
10484238      +Steve Caldwell,    Box 391,    Stanford, KY 40484-0391
10483289      +Steve Callis,    1934 Burnt House Rd,     Lebanon, TN 37090-7714
10484239      +Steve Graves Trucking LLC,     625 Ferguson Road,     Wheatland, WY 82201-9010
10483291      +Steve McDonald,    8000 Shenandoah Ln,     Lanesville, IN 47136-9430
10483292      +Steve Ray Taylor,     1010 Old Buck CK Rd.,     Adolphus, KY 42120-6115
10484241      +Steve Terry,    P.O. Box 448,    Red Cloud, NE 68970-0448
10484242       Steven Hendershot Inc.,     Rt. 2, Box 67,    Laporte City, IA 50651
10447304      +Steven R Taylor,    1010 Old Buck Creek Rd,      Adolphus, KY 42120-6115
10483293      +Steven Terry,    PO Box 448,    Red Cloud, NE 68970-0448
10484243      +Stitches Farm,    551 West Rd,    Red Boiling Spr, TN 37150-3527
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10483294      +Stitches Farms,    PO Box 70,    Gamaliel, KY 42140-0070
10484244      +Stoddard Trucking,    4350 Stoddaed Ln,     Dillon, MT 59725-7206
10483295      +Stokes Baird,    PO Box 218,    Munfordsville, KY 42765-0218
10451049      +Stokes Baird,    PO Box 218,    Munfordville KY 42765-0218
10484245      +Stokes Baird,    1448 South Jackson Hwy,     Hardyville, KY 42746-8303
10483296      +Sumter Co. Farmers Market, Inc.,      524 N. Market Blvd.,     Webster, FL 33597-9400
10484247      +Sumter County Farmers Market,     P.O. Box 62,     Webster, FL 33597-0062
10666603      +Sumter County Farmers Market, Inc.,      524 North Market Blvd.,     Webster, FL 33597-9400
10484248      +Superior Livestock Auction, Inc,      1155 North Colorado,     Box 38,   Brush, CO 80723-2901
10483297      +Superior Livestock Auction, Inc.,      PO Box 38,    Brush, CO 80723-0038
10483298      +Susan Abbott,    6028 Concord Ave,     Crestwood, KY 40014-9512
10483299       Susan Garrett,    831 Glasgow Rd.,     Edmonton, KY 42129
10484249      +Susan Ramey Livestock,     5664 Elizaville Road,     Ewing, KY 41039-8434
10484250      +Syracuse Commission Co., Inc.,     P.O. Box 129,     Syracuse, KS 67878-0129
10484251      +T R Smith Livestock,     921 West Choctaw Street,     Lindsay, OK 73052-5019
10484252      +T&T Farm,    21873 Co Rd 64,    Greeley, CO 80631-9688
10483300      +T. Harold Martin,    6204 Charlestown Pike,     Charlestown, IN 47111-8406
10483482      +TERRY BABER,    1062 SCHMOKER RD.,     BURKBURNETT, TX 76354-6211
10483483       TERRY COURTNEY,    ROUTE 3,    CARNEGIE, OK 73015
10483484      +TIM MAY,    544 BIRMINGHAM RIDGE RD,     SALTILLO, MS 38866-9134
10483485      +TIM MCCARY,    23929 CR EW 180,    CHATTANOOGA, OK 73528-9010
10483486       TIM RILEY,    5146 Crater Rd.,    Hamptonville, NC 27020-7707
10483321      +TNCI,    PO Box 981038,    Boston, MA 02298-1038
10483323   ++++TODD LYNN,    944 TINSLEY BOTTOM RD,     CELINA TN 38551-5007
              (address filed with court: Todd Lynn,       195 Joe Lynn Rd.,     Celing, TN 38551)
10483487      +TOM FELLHAUER,    217 RANGER,    HEREFORD, TX 79045-4113
10483488      +TOM FREEMAN,    BOX 596,    FOLLETT, TX 79034-0596
10483489      +TOM SVOBODA,    3065 AA AVE,    HERINGTON, KS 67449-5051
10483490      +TOMMY J. BEACH,    P.O. 97,    ELMER, OK 73539-0097
10484282   ++++TOMMY LOGSDON,    757 JEROME LOGSDON RD,     SUNFISH KY 42210-8688
              (address filed with court: Tommy Logsdon,       757 St Johns Church Rd,     Sunfish, KY 42210)
10483491      +TORRINGTON LIVESTOCK,     P.O. BOX 1097,    TORRINGTON, WY 82240-1097
10484294      +TSI, Inc,    Tulsa Stockyards,    913 N 161 East Ave,     Tulsa, OK 74116-4106
10483492      +TURNER COUNTY STOCKYARDS,     1315 U.S. HWY 41 SOUTH,     ASHBURN, GA 31714-4103
10483301      +Tadlock Stockyard, Inc.,     PO Box 42,    Forest, MS 39074-0042
10483302      +Tate Myatt,    2163 POplar Spring Rd.,     Glasgow, KY 42141-7859
10484253      +Tate Ranch,    First Ag Credit,    6510 West Lake Rd,     Abilene, TX 79601-8206
10484254      +Taylor Reed,    Home National Bank, Winfield, KS,      P.O. Box 695,    Pawhuska, OK 74056-0695
10484255     #+Teena Morris,    1907 McDonald Ln #2,     New Albany, IN 47150-2476
10450276      +Televent DTN, Inc,    9110 W. Dodge Road,     Omaha, NE 68114-3346
10484256       Telvent Dtn,    P.O. Box 3546,    Omaha, NE 68103-0546
10484257       Tennessee Livestock Producers,     P.O. Box 313,     Columbia, TN 38402-0313
10483303      +Tennessee Livestock Producers, Inc.,      d/b/a Somerville Livestock Sales,     PO Box 382,
                Sommerville, TN 38068-0382
10483304      +Tennessee Livestock Producers, Inc. (Col,      PO Box 313,     Columbia, TN 38402-0313
10483305      +Tennessee Livestock Producers, Inc. (Fay,      PO Box 42,     Fayetteville, TN 37334-0042
10484258      +Tennessee Valley Livestock,     P.O. Box 189,     Waynesboro, TN 38485-0189
10484259       Terry Courtney,    Washita Valley Bank,     Route 3,    Carnegie, OK 73015
10483306      +Terry Joe Patton,    1224 New Concord Rd.,     Columbia, KY 42728-8220
10483307      +Terry L. Williams,    1525 Mt. Pisgah Rd.,     Glasgow, KY 42141-8166
10484260      +Terry Mann,    1048 East Main St.,     Louisville, KY 40206-1855
10484261      +Terry Patton,    1224 New Concord Rd,     Columbia, KY 42728-8220
10484263      +Terry Williams,    1525 Mt Pisgah Rd,     Glasgow, KY 42141-8166
10484264      +The Animal Hospital,     P.O. Box 6,    Campbellsville, KY 42719-0006
11087661       The First Bank and Trust Company,      c/o Ayres Carr & Sullivan, P.C.,
                251 East Ohio Street, Suite 500,      Indianapolis, IN 46204-2184
10483310      +Thomas County Stockyards, Inc,     PO Box 2565,     Thomasville, GA 31799-2565
10483311      +Thomas Gibson,    7536 Tandy Rd,     Lanesville, IN 47136-9608
10484265     #+Thomas Glover,    PO Box 5664,    Pine Bluff, AR 71611-5664
10483312      +Thomas J. Logsdon,    PO Box 235,     Brownsville, KY 42210-0235
10483313      +Thomas J. Svoboda,    3065 AA Ave.,     Herington, KS 67449-5051
10484266      +Thomas P Gibson,    7536 Tandy Rd.,     Lanesville, IN 47136-9608
10483314      +Thomas Rodgers Glover,     4400 Temple Rd.,    Pine Bluff, AR 71603-1113
10484268      +Thomas S Gibson,    4906 Prall Hill Road,     Henryville, IN 47126-8821
10483309      +Thomas and Patsy Gibson,     7536 Tandy Road,     Lanesville, IN 47136-9608
10484269      +Thompson Bros,    1448 South Jackson Hwy,     Hardyville, KY 42746-8303
10483315      +Thompson Brothers,    1448 S. Jackson Hwy.,     Hardyville, KY 42746-8303
10484270      +Thompson Hine, LLP,     41 South High Street,     17th Floor,    Columbus, OH 43215-6157
10484271      +Thoreson Enterprises,     P.O. Box 334,    Eldorado Spring, MO 64744-0334
10483316      +Thoreson Ranch,    PO Box 334,    c/o Tate Thoreson,     El Dorado Springs, MO 64744-0334
10662500      +Thoreson Ranch, Inc.,     c/o Jerry W. Potocnik,     1200 NW South Outer Road,
                Blue Springs, MO 64015-3065
10484272      +Tim Jones,    P O Box 33,    Hardyville, KY 42746-0033
10484273      +Tim McCary,    Bancfirst Of Chattanooga,OK,     23929 CR EW 180,     Chattanooga, OK 73528-9010
10484274      +Tim Moore,    13486 W Farm Road 132,     Bois D Arc, MO 65612-8197
10484275      +Tim Napier,    4173 Peters Creek Rd,     Austin, KY 42123-9753
10484276      +Tim Nichols,    850 Centerville Rd,     Mantachie, MS 38855-8258
10483317      +Tim Vibbert,    444 Jack Brown Rd,     Glasgow, KY 42141-8237
10484277      +Timmy Blackistore,    PO Box 286,     Columbia, KY 42728-0286
10484278      +Timmy Slinker,    1967 Columbia Rd,     Edmonton, KY 42129-8902
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10483318      +Timothy Blackistone,    PO Box 286,    Columbia, KY 42728-0286
10483319      +Timothy Clay Slinker,    1967 Columbia Rd.,     Edmonton, KY 42129-8902
10483324      +Todd Newport,    5802 Meshack Rd.,    Tompkinsville, KY 42167-8816
10394176      +Tom M Caneff,    Thomson West,    610 Opperman Drive, D6- 11-3710,      Eagan, MN 55123-1340
10484281      +Tom Talley Trucking,    Rt.1, Box 1,    Tyrone, OK 73951-9701
10484283      #Tommy Parker,    P.O. Box 18,    Marlin, TX 76661-0018
10484284      +Tony F. Setzer,    Farm Credit Of Western Ok, PCA,      Route 1, Box 39,    Colony, OK 73021-9600
10607820      +Torrington Livestock Cattle Company,      PO Box 1097,    Torrington, WY 82240-1097
10484286      +Townsend Livestock Market,     P.O. Box 577,    Madison, FL 32341-0577
10484287      +Trainor Business Forms & Printing,     2720 River Road,     Des Plaines, IL 60018-4111
10484288      +Travis Dicke,    Dicke Feedyard,    16963 415 St,    Creston, NE 68631-4039
10484289      +Travis Seals,    P.O. Box 935,    Dunlap, TN 37327-0935
10484291       Tri-County Farms,    4688 N Farm Rd 1,     Ash Grove, MO 65604
10483327      +Tri-County Livestock Exchange,     PO Box 122,    Smithfield, KY 40068-0122
10484292      +Tri-County Veterinary Services,     P.O. Box 727,    Tompkinsville, KY 42167-0727
10484293      +Truman Slatten,    3435 Southeast 726 Rd,     Collins, MO 64738-7189
10484295      +Tupper Livestock Co.,    Box 20,    Kimball, SD 57355-0020
10483328      +Tupper Livestock Co.,    PO Box 20,    c/o Wayne Tupper,     Kimball, SD 57355-0020
10483329      +Turner County Stockyard,     1315 US Hwy 41 S,    Ashburn, GA 31714-4103
10662509      +Turner County Stockyards, Inc.,     Attn: Roy Wiggins, Secretary/Treasurer,      1315 US Hwy 41 S,
                Ashburn, GA 31714-4103
10484296      +Twenty Four Trading,    P.O. Box 1530,     Canutillo, TX 79835-1530
10483330      +Tyler McCombs,    133 Scottsborough Circle,     Bowling Green, KY 42103-8708
10642069      +UNITED PARCEL SERVICE,    c/o RMS Bankruptcy Recovery Services,       P.O. Box 5126,
                Timonium, Maryland 21094-5126
10484297      +Union Ganadera,    P.O. Box 1345,    100 Frontera Blvd,     Santa Teresa, NM 88008-9741
10483331      +Union Stock Yards Co., Inc.,     7510 State Rt 138 E,     PO Box 129,    Hillsboro, OH 45133-0129
10484298      +Union Stockyards,    P.O. Box 129,    Hillsboro, OH 45133-0129
10484299       United Parcel Service,    Lockbox 577,     Carol Stream, IL 60132-0577
10483332      +United Producers, Inc.,    8351 N. High St. Ste 250,      Columbus, OH 43235-1440
10484300      +United Producers, Inc.,    8351 North High Street,      Suite 250,    Columbus, OH 43235-1440
10484301       United States Postal Service,     Cmrs-tms,    PO Box 0527,    Carol Stream, IL 60132-0527
10484302      +Upper Cumberland Shopper,     2685 Lake Valley Dr,     Cookeville, TN 38506-7451
10484305   ++++VAUGHN KENNEMER,    11081 N 1970 RD,    ELK CITY OK 73644-6412
              (address filed with court: Vaughn Kennemer,       Rt.2, Box 4315,    Elk City, OK 73644)
10483333      +Valley Stockyard,    206 Pine Ave. SW,     Decatur, AL 35601-7628
10484303      +Valley Stockyard, Inc.,    206 Pine Ave. S.W.,     Decatur, AL 35601-7628
10484304      +Vanderbrink Trucking,    Ed Vanderbrink,     319 Main,    Alvord, IA 51230-7706
10668721       Vermilion Ranch Corporation d/b/a Northern Livesto,       2433 North Frontage Road,
                Billings, MT 59101
10484307      +Vernon Verhoeff,    709 West Broadway,     Custer City, OK 73639-9627
10483344      +Veteran Denver Capps,    330 Frogue Road,     Burkesville, KY 42717-8891
10483345      +Vickie Weidman,    1325 Cemetery Rd NE,     New Salisbury, IN 47161-8714
10483346      +W.C. Bush,    16660 N. 2320 Rd.,    Snyder, OK 73566-5058
10484308      +W.L. McClure,    5199 Smiths Grove Rd,     Scottsville, KY 42164-9431
10484309      +W.R. Odle,    491 Goodluck Beaumont Rd,     Edmonton, KY 42129-9235
10483521      +WEBORG FEEDING CO.,LLC,    1737 V ROAD,     PENDER, NE 68047-4422
10483494      +WEINHEIMER RANCH,    P.O. BOX 327,    STONEWALL, TX 78671-0327,     WHITWORTH CATTLE CO
10483522      +WHEELER BROS. GRAIN CO.,     P.O. BOX 29,    WATONGA, OK 73772-0029
10483495   ++++WILLIAM BUSH,    16660 N 2320 RD,    SNYDER OK 73566-5058
              (address filed with court: WILLIAM BUSH,       RT. 2, BOX 42,    SNYDER, OK 73566)
10484324   ++++WILLIAM BUSH,    AGPREFERENCE CREDIT ASSOC. PCA,     16660 N 2320 RD,     SNYDER OK 73566-5058
              (address filed with court: William Bush,       Agpreference Credit Assoc. PCA,     Rt. 2, Box 42,
                Snyder, OK 73566)
10483496      +WINTER VIDEO AUCTION,    11802 W GARRIOTT,     ENID, OK 73703-6064
10483347      +Waddie Hills,    3377 FM 1226 N.,    Anson, TX 79501-2933
10483348      +Wade Breeding,    9440 Columbia Hwy.,     Greensburg, KY 42743-9130
10484311      +Waechter Hay & Grain, Inc.,     P.O. Box 2123,    Emporia, KS 66801-2123
10484312       Walco International,    Central Accounting Center,      P O Box 911423,    Dallas, TX 75391-1423
10484313      +Walter Henry,    764 CR 131,    Okolona, MS 38860-9393
10667198      +Walter Hills,    3377 FM 1226 N.,    Anson, Texas 79501-2933
10484314       Wayne Firkins,    298 Judd Road,    Edmonton, KY 42129-9000
10484315      +Wayne Smith,    1531 Cedar Flat Curtis Rd,     Edmonton, KY 42129-9252
10483349      +Wayne Tibbits,    214 Sandwood Dr.,    Glasgow, KY 42141-3324
10483350      +Wendy Cassell Chapman,    1371 Frisbie Lane,     Cookeville, TN 38501-5802
10484319      +Wesley Kinslow,    2371 Dripping Springs Rd,     Glasgow, KY 42141-6603
10484320      +Wesley Lacy,    2194 W Fork Rd,    Bakerton, KY 42717
10484321      +West Coast Livestock Express,     P.O. Box 1691,    Sterling, CO 80751-1691
10484322       West Group Payment Center,     P O Box 6292,    Carol Stream, IL 60197-6292
10483352      +West Plains Co.,    d/b/a CT Livestock,     4800 Main St. Suite 274,     Kansas City, MO 64112-2540
10484323      +West Plains dba CT Livestock,     14210 Hillsdale Circle,     Omaha, NE 68137-5557
10483353      +Westley Kinslow,    2371 Dripping Springs Road,     Glasgow, KY 42141-6603
10483354      +Wetstone Creek,    442 Sunfish School Rd.,     Brownsville, KY 42210-8612
10483355      +Willard R. Odle,    491 Goodluck Beaumont Rd.,     Edmonton, KY 42129-9235
10483356      +William A. Milby,    6869 Greensburg Rd.,     Buffalo, KY 42716-8408
10483357      +William Eugene Dedigo,    8313 Randal Ph-Summer Shade Rd.,      Summer Shade, KY 42166-7622
10483358      +William Fred Birdwell,    1543 Tommy Dodson Hwy.,      Cookeville, TN 38506-8242
10484325      +William Kruizenga,    2823 Edmonton Rd,     Columbia, KY 42728-8466
10483359      +William McClure,    5199 Smith Grove Rd.,     Scottsville, KY 42164-9431
10483360      +William Rex Elmore,    1817 Tobacco Rd.,     Glasgow, KY 42141-8486
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10483361     +William White,    99 White Rd.,    Summer Shade, KY 42166-8627
10484326      Williams Cattle Co.,    P.O. Box 447,    London, KY 407430447
10484327     +Williams Farms,    893 CR 128,    Town Creek, AL 35672-6664
10484329     +Willie Downs Livestock, Inc,     4840 New Haven Road,    Bardstown, KY 40004-9520
10484330     +Wilson Trailer Sales Of Kansas,     P.O. Box 297,    Dodge City, KS 67801-0297
10484331      Wimberly Lawson Seale Wright & Daves, PLLC,      PO Box 2231,   Knoxville, TN 37901-2231
10484332      Window Unit,    Airport Mail Facility,    4440 Crittenden Dr,     Louisville, KY 40221-9998
10484333      Windstream,    PO Box 9001908,    Louisville, KY 40290-1908
10483362     +Windstream,    1720 Galleria Blvd,    Br 15 Lexington,    Charlotte, NC 28270-2408
10484334     +Winner Livestock Auction,    Box 611,    Winner, SD 57580-0611
10483363     +Winona Stockyard,    PO Box 429,    Winona, MS 38967-0429
10484335     +Winona Stockyard-custodial,     c/o Bank of Winona,    PO Box 231,    Winona, MS 38967-0231
10462216     +Wischmeier Trucking, Inc.,     P.O. Box 244,    Brownstown, IN 47220-0244
10484337     +Witcher Livestock,    First Interstate Bank,     HC 46, Box 7621,    Miles City, MT 59301-8704
10484338      Wm E. Henderson,    5763 Hodgenville Rd,     Summersville, KY 42782
10484339     +Wyatt Trucking, Inc,    1791 Co Rd 472,    Kinston, AL 36453-3437
10484340     +Wyoming Livestock Board,    c/o Craig Jones, Brand Inspect,     Box 146,
               Elk Mountain, WY 82324-0146
10483523     +XIT FEEDERS,    2690 US HWY 54,    DALHART, TX 79022-7232
10484341     +Yankton Livestock Auction,     P.O. Box 774,    Yankton, SD 57078-0774

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty           E-mail/Text: asr@btcmlaw.com Jul 27 2012 01:13:55       Ashley S Rusher,
               Blanco Tackabery & Matamoros PA,    PO Drawer 25008,     Winston-Salem, NC 27114-5008
10483071     +E-mail/Text: bankruptcynotification@frontiercorp.com Jul 27 2012 01:16:00        Frontier,
               PO Box 6000,    Hayden, ID 83835-2009
10483812      E-mail/Text: bankruptcynotification@frontiercorp.com Jul 27 2012 01:16:00        Frontier,
               PO Box 2951,    Phoenix, AZ 85062-2951
10520834     +E-mail/Text: CSC.BANKRUTCYPROCESSING@AMWATER.COM Jul 27 2012 01:15:54        Indiana American Water,
               P.O. Box 578,    Alton, IL 62002-0578
10483872      E-mail/PDF: DORBANKRUPTCYCOURTNOTICES@DOR.IN.GOV Jul 27 2012 06:30:30
               Indiana Department Of Revenue,    Collection Division,    P.O. Box 1028,
               Indianapolis, IN 46206-1028
10483968      E-mail/Text: CSC.BANKRUTCYPROCESSING@AMWATER.COM Jul 27 2012 01:15:54        Kentucky American Water,
               PO Box 578,    Alton, IL 62002-0578
10483985     +E-mail/Text: michelle@lwmiller.com Jul 27 2012 01:18:29       L.W. Miller Trucking Inc.,
               94 N. 400 West,    No. Salt Lake, UT 84054-2723
10483188     +E-mail/Text: michelle@lwmiller.com Jul 27 2012 01:18:29       LW Miller Livestock, Inc.,
               94 N 400 W,    North Salt Lake, UT 84054-2723
10483200     +E-mail/PDF: BankruptcyFmciMassMa@afni.com Jul 27 2012 06:27:35       MCI,    27732 Network Place,
               Br 15 - Lexington,    Chicago, IL 60673-1277
10484078      E-mail/Text: tgormely@mt.gov Jul 27 2012 01:17:17       Montana Secretary Of State,
               Linda McCulloch,    P O Box 202801,    Helena, MT 59620-2801
10483224      E-mail/Text: jbarb@ozarkelectric.com Jul 27 2012 01:17:13       Ozark Electric Cooperative,
               PO Box 420,    Mount Vernon, MO 65712-0420
10484105      E-mail/Text: jbarb@ozarkelectric.com Jul 27 2012 01:17:14       Ozark Electric Cooperative, Inc,
               P.O. Box 420,    Mt. Vernon, MO 65712-0420
10484290     +E-mail/Text: ghale@tcemc.org Jul 27 2012 01:17:13       Tri County E.M.C.,    P.O. Box 40,
               Lafayette, TN 37083-0040
10483326     +E-mail/Text: ghale@tcemc.org Jul 27 2012 01:17:13       Tri County Electric,    PO Box 40,
               Lafayette, TN 37083-0040
10483334      E-mail/Text: bankruptcynotification@vectren.com Jul 27 2012 01:14:05       Vectren Energy,
               PO Box 6248,    Indianapolis, IN 46206-6248
10483335      E-mail/Text: bankruptcynotification@vectren.com Jul 27 2012 01:14:06       Vectren Energy Delivery,
               PO Box 6248,    Indianapolis, IN 46206-6248
10483336     +E-mail/PDF: bankruptcyverizoncom@afni.com Jul 27 2012 05:47:27       Verizon,    PO Box 920041,
               Dallas, TX 75392-0041
10483337     +E-mail/PDF: bankruptcyverizoncom@afni.com Jul 27 2012 05:47:27       Verizon,    PO Box 920041,
               Br - Lexington,    Dallas, TX 75392-0041
10483338     +E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 06:17:36        Verizon,   PO Box 9058,
               Dublin, OH 43017-0958
10483341     +E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 05:47:27        Verizon,   PO Box 9058,
               Br 02 - Marion,    Dublin, OH 43017-0958
10483340     +E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 06:17:35        Verizon,   PO Box 9058,
               Br 34 - Robert Brown,    Dublin, OH 43017-0958
10483339     +E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 06:27:35        Verizon,   PO Box 9058,
               East-West Trucking,    Dublin, OH 43017-0958
10484306      E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 06:27:35        Verizon Wireless,
               PO Box 660108,    Dallas, TX 75266-0108
10590302     +E-mail/PDF: bankruptcyverizonwireless@afninet.com Jul 27 2012 05:47:29        Verizon Wireless,
               PO BOX 3397,    Bloomington, IL 61702-3397
                                                                                               TOTAL: 24

           ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr            Phillip Taylor Reed,   a/k/a Taylor Reed
10669855      AB Livestock, LLC
10483719      David Alexander
10669364      Friona Industries, LP
10483823      Garrett Dennison
    Case 10-93904-BHL-11            Doc 1273      Filed 07/28/12     EOD 07/29/12 00:47:08          Pg 20 of 23



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                               Form ID: SF11250              Total Noticed: 1370

ptcrd*        +Billy Neat,    705 B. Neat Road,    Columbia, KY 42728-8500
cr*           +Bovine Medical Associates, LLC,     1500 Soper Road,     Carlisle, KY 40311-8083
cr*           +Cullman Stockyard, Inc.,     c/o Thomas C. Scherer, Esq.,     Bingham McHale LLP,    2700 Market Tower,
                10 West Market Street,     Indianapolis, IN 46204-2982
ptcrd*        +Dennis Neat,    6198 Burkesville Road,     Columbia, KY 42728-8529
ptcrd*        +Gary S. Bell,    P.O. Box 122,    Edmonton, KY 42129-0122
cr*           +Gary S. Bell,    PO Box 122,    Edmonton, KY 42129-0122
cr*           +Republic Bank and Trust Company,     661 South Hurstbourne Parkway,     Louisville, KY 40222-5079
cr*            Rex Elmore,    1817 Tobacco Road,    Glasgow, KY 42141-8486
10483792*    ++FIFTH THIRD BANK,    MD# ROPS05 BANKRUPTCY DEPT,      1850 EAST PARIS SE,
                GRAND RAPIDS MI 49546-6253
              (address filed with court: Fifth Third Bank,       401 South 4th Ave,    Louisville, KY 402023411)
10483951*     +Judy Cebelak,    614 Lane Allen Road,     Lexington, KY 40504-3507
10483155*      Kenny Plowman,    Centurylink,    PO Box 1319,    Charlotte, NC 28201-1319
10483342*      Verizon,    PO Box 920041,    Dallas, TX 75392-0041
cr          ##+Bobby Bynum,    P. O. Box 43,    Rankin, TX 79778-0043,     UNITED STATES
ptcrd       ##+Southeast Livestock Exchange LLC,      PO Box 1306,    Waynesville, NC 28786-1306
10483577    ##+Bill Crist,    353 Hiseville E Main,     Glasgow, KY 42141-9586
10667196    ##+Bobby & Debby Bynum,     P. O. Box 43,    Rankin, Texas 79778-0043
10483643    ##+Central Printing Co., Inc.,     2418 West Main St,     Louisville, KY 40212-1529
10483706    ##+Daniel G Fulkerson,     237 Dekoven Rd,    Sturgis, KY 42459-8256
10483043     ##Duke Energy,    PO Box 9001076,    Louisville, KY 40290-1076
10483762    ##+East-West Trucking Co., LLC,     135 West Market Street,     New Albany, IN 47150-3561
10483399    ##+GARY HERRIN,    2106 INDIAN RD,    FORT SCOTT, KS 66701-8732
10483874     ##Industrial Disposal Co,     P O Box 9001825,    Louisville, KY 40290-1825
10483414    ##+JERRY THOMPSON,    320 E. NEBRASKA,     WALTERS, OK 73572-2241
10483417    ##+JOE THOMPSON,    320 E NEBRASKA,    WALTERS, OK 73572-2241
10483949     ##Joyce Lamb,    600 Princeton St,    Providence, KY 42450
10483516    ##+KENNETH TIMMS,    13723 E APPLE RD,     ADAMS, NE 68301-8780
10483971    ##+Kevin Manthey,    30038 361 Ave,    Bonesteel, SD 57317-5308
10483432    ##+LEN MILLER,    1949 ROOSEVELT RD 1 NORTH,     PORTALES, NM 88130-9026
10484009    ##+Len Miller,    Ag New Mexico Of PCA,     1949 Roosevelt Rd 1 North,    Portales, NM 88130-9026
10483235    ##+Phillip’s Farms,    560 Monterey Hwy.,     c/o Terry H. Phillips, Jr.,    Livingston, TN 38570-8748
10484139    ##+R&J Trucking,    Ronald Sexton,    1200 Highway 1808,     Monticello, KY 42633-6870
10484161    ##+Richard Hope,    Kaye Hope,    3000 Mt Moriah Rd,     Summer Shade, KY 42166-7617
10483249    ##+Richard Hope,    3000 Mt. Moriah Rd.,     Summer Shade, KY 42166-7617
10483474    ##+SKIPPER DAVIS,    111 MALARD,    FULTON, AR 71838-9064
10664346    ##+Southeast Livestock Exchange, LLC,      Attn: John M. Queen,III, Member Manager,     PO Box 1306,
                Waynesville, NC 28786-1306
10484240    ##+Steve Taylor,    589 New Mt Geliad Ch Rd,     Scottsville, KY 42164-8856
10484279    ##+TNCI,    P.O. Box 9678,    Manchester, NH 03108
10484262    ##+Terry Phillips,    J&T Farms,    560 Monterrey Hwy,     Livingston, TN 38570-8748
10483308    ##+Terry Phillips,    560 Monterey Hwy.,     Livingston, TN 38570-8748
10484285    ##+Torque Transport LLC,     10083 S. Queens Ferry Drive,     South Jordan, UT 84095-9160
10483325    ##+Torque Transportation,     10083 Queens Ferry Dr,     South Jordan, UT 84095-9160
10484316    ##+Wayne Tibbits,    227 Cedar St,    Glasgow, KY 42141-1503
10484317    ##+Weber Livestock,    Angela M Weber,     55156 Hwy 59,    Wausa, NE 68786-8661
10484318    ##+Wendy Chapman,    1116 Sheraton Dr,     Cookeville, TN 38501-4512
10483351    ##+West Kentucky Livestock Market,     1781 US Hwy 60 E,     Marion, KY 42064-6104
10484328    ##+Willie Downs Livestock Inc.,     1300 Richie Lane,     Bardstown, KY 40004-9534
                                                                                                TOTALS: 5, * 12, ## 34

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.       Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.
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               ***** BYPASSED RECIPIENTS (continued) *****




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 28, 2012                                       Signature:
    Case 10-93904-BHL-11         Doc 1273       Filed 07/28/12   EOD 07/29/12 00:47:08        Pg 22 of 23



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The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on July 26, 2012 at the address(es) listed below:
NONE.                                                                                       TOTAL: 0
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                              UNITED STATES BANKRUPTCY COURT                          SF11250 (rev 11/2009)
                                    Southern District of Indiana
                                    121 W. Spring St., Rm. 110
                                      New Albany, IN 47150
In re:

Eastern Livestock Co., LLC,                                Case No. 10−93904−BHL−11
             Debtor(s).

           ORDER AND NOTICE FOR HEARING ON DISCLOSURE STATEMENT

A(n) Disclosure Statement was filed on July 23, 2012, and a(n) Plan was filed on July 23, 2012,
under Chapter 11 of the U.S. Bankruptcy Code by Trustee James A. Knauer.

NOTICE IS GIVEN that a hearing to consider the Disclosure Statement and any objections or
modifications thereto is set for:

         Date: September 4, 2012
         Time: 10:00 AM EDT
         Place: Rm. 310 U.S. Courthouse, 46 E. Ohio St., Indianapolis, IN 46204

IT IS ORDERED that any objections to the Disclosure Statement shall be filed and served in
accordance with Fed.R.Bankr.P. 3017(a) at least 5 days prior to the date of the above hearing.

IT IS FURTHER ORDERED that within 7 days after the date of this Order, the Proponent of
the Plan shall mail the Disclosure Statement, Plan, and a copy of this Order to the Debtor, any
trustee or committee appointed under the Code, the Securities and Exchange Commission and any
party in interest who requests or has requested in writing a copy of the Disclosure Statement or
Plan in accordance with Fed.R.Bankr.P. 3017(a). Within 14 days from the date of this Order, the
Proponent of the Plan shall file a certificate of service of the Disclosure Statement, Plan, and copy
of this Order showing the date of mailing and to whom mailed.

Requests for copies of the Plan or Disclosure Statement shall be made in writing to the proponent
of the Plan or are available at http://pacer.insb.uscourts.gov.

Dated: July 26, 2012                               JUDGE BASIL H. LORCH III
                                                   U.S. BANKRUPTCY COURT
